Case 4:09-cr-00043-SPF          Document 818-1 Filed in USDC ND/OK on 11/13/24            Page 1 of 46


                                                               APPEAL,GARN,LC−1,TRANSF,VJASSIGN
                                     U.S. District Court
            U.S. District Court for the Northern District of Oklahoma (Tulsa)
               CRIMINAL DOCKET FOR CASE #: 4:09−cr−00043−SPF−2

     Case title: USA v. Springer et al                           Date Filed: 03/10/2009

     Other court case number: 23−966 Supreme Court of the United Date Terminated: 04/28/2010
                              States
     Related Case: 4:21−cv−00361−SPF−CDL

     Assigned to: Judge Stephen P
     Friot
     Appeals court case numbers:
     '10−5057 (#348)' '10th Circuit',
     22−5000 (#725) 10th Circuit,
     22−5113 (#756) 10th Circuit

     Defendant (2)
     Oscar Amos Stilley                   represented by Oscar Amos Stilley
     TERMINATED: 04/28/2010                              7103 Race Track Loop
                                                         Fort Smith, AR 72916−9241
                                                         479−384−2303
                                                         Email: oscarstilley@gmail.com
                                                         PRO SE

                                                        Charles Robert Burton , IV
                                                        Burton Law Firm PC
                                                        15 E 5TH ST STE 4022
                                                        TULSA, OK 74103−4347
                                                        918−607−4891
                                                        Email: RobtBurton@aol.com
                                                        TERMINATED: 04/27/2010
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED
                                                        Designation: Public Defender or Community
                                                        Defender Appointment

                                                        Terry Lee Weber
                                                        Weber & Assoc PC
                                                        320 S BOSTON STE 825
                                                        TULSA, OK 74103
                                                        918−582−1910
                                                        Fax: 918−582−2015
                                                        Email: Terry.Weber@morelaw.com
                                                        TERMINATED: 04/03/2009
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED
Case 4:09-cr-00043-SPF       Document 818-1 Filed in USDC ND/OK on 11/13/24            Page 2 of 46


                                                    Designation: CJA or Other Appointment

     Pending Counts                                 Disposition
                                                    4/8/2010 Sentencing: BOP 60 months; SR 3 years;
     18 USC 371: Conspiracy to                      Restitution $776,280; SMA $100; 11/21/22 SR
     Defraud the United States                      REVOCATION: 3 months; SR: 33 months;
     (1)                                            Remainder of Restitution. 11/13/2024 Revoc Hrg:
                                                    BOP 24 months; NO SR.
                                                    4/8/2010 Sentencing: BOP 60 months each count,
                                                    consecutive to Ct 1; SR 3 years each count; SMA
     26 USC 7201: Tax Evasion and
                                                    $100 each count. 11/21/22 Revocation Hrg: BOP 3
     18 USC 2
                                                    months each count; SR 33 months. 11/13/2024
     (3−4)
                                                    Revocation Hrg: BOP 24 months each count; NO
                                                    SR.

     Highest Offense Level
     (Opening)
     Felony

     Terminated Counts                              Disposition
     None

     Highest Offense Level
     (Terminated)
     None

     Complaints                                     Disposition
     None



     Plaintiff
     USA                                      represented by Charles Anthony O'Reilly
                                                             DOJ−Tax
                                                             150 M Street N.E.
                                                             Room 2−404
                                                             Washington, DC 20002
                                                             202−616−0115
                                                             Fax: 202−514−9623
                                                             Email: charles.a.o'reilly@usdoj.gov
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Government Attorney
                                                             (local,state,federal)

                                                             Jeffrey Andrew Gallant
                                                             United States Attorney's Office (Tulsa)
Case 4:09-cr-00043-SPF    Document 818-1 Filed in USDC ND/OK on 11/13/24                  Page 3 of 46


                                                                110 W 7TH ST STE 300
                                                                TULSA, OK 74119−1013
                                                                918−382−2715
                                                                Fax: 918−560−7938
                                                                Email: Jeff.Gallant@usdoj.gov
                                                                TERMINATED: 10/15/2024
                                                                LEAD ATTORNEY
                                                                Designation: Government Attorney
                                                                (local,state,federal)

                                                                Kenneth P Snoke
                                                                United States Attorney's Office (Tulsa)
                                                                110 W 7TH ST STE 300
                                                                TULSA, OK 74119−1013
                                                                918−382−2700
                                                                Fax: 918−560−7946
                                                                Email: ken.snoke@usdoj.gov
                                                                TERMINATED: 06/08/2010
                                                                LEAD ATTORNEY
                                                                Designation: Government Attorney
                                                                (local,state,federal)

                                                                Stephanie Noel Ihler
                                                                DOJ−USAO
                                                                110 W. 7th Street
                                                                Ste 300
                                                                Tulsa, OK 74119
                                                                918−703−7615
                                                                Email: stephanie.ihler@usdoj.gov
                                                                TERMINATED: 10/25/2024
                                                                LEAD ATTORNEY
                                                                Designation: Government Attorney
                                                                (local,state,federal)

                                                                Vani Singhal
                                                                U.S. Attorney's Office
                                                                110 W. 7th Street
                                                                Suite 300
                                                                Tulsa, OK 74119
                                                                918−382−2700
                                                                Email: vani.singhal@usdoj.gov
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Government Attorney
                                                                (local,state,federal)

      Date Filed   #   Page Docket Text
      03/10/2009   1        DEFENDANT INFORMATION SHEET(S) by USA as to Lindsey Kent
                            Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 03/10/2009) Contains
                            One or More Restricted PDFs
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                   Page 4 of 46



      03/10/2009     2    INDICTMENT by USA as to Lindsey Kent Springer (1) count(s) 1, 2, 3−4,
                          5−6, Oscar Amos Stilley (2) count(s) 1, 3−4 (pll, Dpty Clk) (Entered:
                          03/10/2009)
      03/10/2009     4    SUMMONS Issued by Court Clerk as to Oscar Amos Stilley (pll, Dpty Clk)
                          (Entered: 03/10/2009) Contains One or More Restricted PDFs
      03/10/2009   665    SEALED UNREDACTED VERSION of Dkt # 2 per Local Rule 5.3(b) (pll,
                          Dpty Clk) (Entered: 01/11/2019) Contains One or More Restricted PDFs
      03/18/2009     5    MOTION for Electronic Access by Lindsey Kent Springer as to Lindsey Kent
                          Springer (sjm, Dpty Clk) (Entered: 03/18/2009)
      03/18/2009     9    MINUTE ORDER by Judge Payne, due to Court conflict, recusing Judge
                          James H Payne, this case is hereby returned to the Court Clerk for further
                          reassignment, Court Clerk reassigned to case as to Lindsey Kent Springer,
                          Oscar Amos Stilley (pll, Dpty Clk) (Entered: 03/18/2009)
      03/18/2009    14    MINUTES of Proceedings − held before Magistrate Judge Paul J Cleary:
                          Initial Appearance held on 3/18/2009, Arraignment held on 3/18/2009,
                          appointing CJA attorney Terry Lee Weber for Oscar Amos Stilley,
                          setting/resetting bond as to Oscar Amos Stilley (Court Reporter: C1) (kjp,
                          Dpty Clk) (Entered: 03/18/2009)
      03/18/2009    15    ORDER by Magistrate Judge Paul J Cleary (for purposes of initial appearance
                          only), appointing CJA attorney as to Oscar Amos Stilley (kjp, Dpty Clk)
                          (Entered: 03/18/2009)
      03/18/2009    16    ORDER by Magistrate Judge Paul J Cleary, setting conditions of release as to
                          Oscar Amos Stilley (kjp, Dpty Clk) (Entered: 03/18/2009)
      03/18/2009    17    BOND approved by Magistrate Judge Paul J Cleary as to Oscar Amos Stilley
                          (kjp, Dpty Clk) (Entered: 03/18/2009)
      03/19/2009    18    ORDER by Magistrate Judge Paul J Cleary directing defendants regarding
                          representation, setting/resetting deadline(s)/hearing(s): (copy of Order mailed
                          to both defendants on 3/19/09) ( Miscellaneous Deadline set for 3/30/2009) as
                          to Lindsey Kent Springer, Oscar Amos Stilley (kjp, Dpty Clk) (Entered:
                          03/19/2009)
      03/23/2009    19    RESPONSE (Re: 8 MOTION for Bill of Particulars, 5 MOTION for
                          Electronic Access, 7 Brief in Support of Motion, 6 MOTION for In Camera
                          Review of Fifth Amendment Proffer ) by USA as to Lindsey Kent Springer,
                          Oscar Amos Stilley (Snoke, Kenneth) (Entered: 03/23/2009)
      03/24/2009    20    MOTION to Withdraw Attorney(s) R. Scott Williams by Lindsey Kent
                          Springer as to Lindsey Kent Springer (Williams, Robert) Modified on
                          3/25/2009 to reference to Oscar Stilley (tjc, Dpty Clk). (Entered: 03/24/2009)
      03/24/2009    21    MOTION for Hearing (Re: 20 MOTION to Withdraw Attorney(s) ) by
                          Lindsey Kent Springer as to Lindsey Kent Springer (Williams, Robert)
                          Modified on 3/25/2009 to remove reference to Oscar Stilley (tjc, Dpty Clk).
                          (Entered: 03/24/2009)
      03/25/2009          NOTICE of Docket Entry Modification; Error: During e−filing the attorney
                          was prompted to select a case, all defendants were selected; Correction: Edited
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                  Page 5 of 46



                          docket text to remove Oscar Stilley as these pleadings did not name him (Re:
                          20 MOTION to Withdraw Attorney(s), 21 MOTION for Hearing ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (tjc, Dpty Clk) (Entered:
                          03/25/2009)
      03/25/2009   22     MINUTE ORDER by Magistrate Judge Paul J Cleary, setting/resetting
                          deadline(s)/hearing(s): ( Miscellaneous Hearing set for 3/30/2009 at 02:30 PM
                          before Magistrate Judge Paul J Cleary) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (kjp, Dpty Clk) (Entered: 03/25/2009)
      03/30/2009   23     MINUTES of Proceedings − held before Magistrate Judge Paul J Cleary:
                          Miscellaneous Hearing held on 3/30/2009 re Representation; Defendants
                          Waive Counsel, ruling on motion(s)/document(s): #5 granted,
                          striking/terminating deadline(s)/hearing(s) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (Re: 5 MOTION for Electronic Access ) (Court Reporter: C1)
                          (kjp, Dpty Clk) (Entered: 03/31/2009)
      03/31/2009   24     MINUTE ORDER by Court Clerk at the direction of Chief Judge Claire V.
                          Eagan, reassigning case to Judge Stephen P Friot. Court Clerk no longer
                          assigned to case, changing case number to 09−CR−43−SPF as to Lindsey Kent
                          Springer, Oscar Amos Stilley (a−hc, Dpty Clk) (Entered: 03/31/2009)
      04/01/2009   25     MOTION for Protective Order by USA as to Lindsey Kent Springer, Oscar
                          Amos Stilley (O'Reilly, Charles) (Entered: 04/01/2009)
      04/02/2009   26     ORDER by Judge Stephen P Friot (Protective Order), ruling on
                          motion(s)/document(s): #25 Granted (Re: 25 MOTION for Protective Order )
                          as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          04/02/2009)
      04/03/2009   27     ORDER by Magistrate Judge Paul J Cleary Appointing Standby Counsel,
                          adding attorney Robert Scott Williams for Lindsey Kent Springer, Charles
                          Robert Burton, IV for Oscar Amos Stilley, ruling on motion(s)/document(s):
                          #20 and #21 moot (Re: 20 MOTION to Withdraw Attorney(s) R. Scott
                          Williams, 21 MOTION for Hearing ) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (kjp, Dpty Clk) (Entered: 04/03/2009)
      04/06/2009   28     MOTION to Permit Oscar Stilley to File by CM/ECF by Oscar Amos Stilley
                          (s−srb, Dpty Clk) (Entered: 04/07/2009)
      04/07/2009   29     ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                          Motion Hearing set for 4/22/2009 at 10:00 AM before Judge Stephen P Friot,
                          Scheduling Conference set for 4/22/2009 at 10:00 AM before Judge Stephen P
                          Friot) (Re: 8 MOTION for Bill of Particulars, 6 MOTION for In Camera
                          Review of Fifth Amendment Proffer ) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (pll, Dpty Clk) (Entered: 04/07/2009)
      04/08/2009   31     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #28
                          Granted (Re: 28 MOTION to Permit Oscar Stilley to File by CM/ECF ) as to
                          Oscar Amos Stilley (pll, Dpty Clk) (Entered: 04/08/2009)
      04/10/2009   33     MOTION for Bill of Particulars by Oscar Amos Stilley as to Lindsey Kent
                          Springer, Oscar Amos Stilley (Stilley, Oscar) (Entered: 04/10/2009)
      04/10/2009   34     ORDER by Judge Stephen P Friot : setting Motion for hearing on 4/22/09 (Re:
                          33 MOTION for Bill of Particulars, 29 Order,,,, Setting/Resetting
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                  Page 6 of 46



                          Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s) ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          04/10/2009)
      04/15/2009   39     MOTION Unopposed Motion for Limited Unsealing of Search Warrant and
                          Affidavit and Materials from Case 03−CR−055−CVE by USA as to Lindsey
                          Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) (Entered: 04/15/2009)
      04/15/2009   40     NOTICE NOTICE RE GOVERNMENT MOTION FOR LIMITED
                          UNSEALING OF SEARCH WARRANT AFFIDAVIT AND MATERIALS
                          FROM CASE 03−CR−043−CVE (Re: 39 MOTION Unopposed Motion for
                          Limited Unsealing of Search Warrant and Affidavit and Materials from Case
                          03−CR−055−CVE ) by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                          (With attachments) (O'Reilly, Charles) (Entered: 04/15/2009)
      04/16/2009   41     ORDER by Judge Stephen P Friot setting Motion for Hearing on 4/22/09 (Re:
                          39 MOTION Unopposed Motion for Limited Unsealing of Search Warrant and
                          Affidavit and Materials from Case 03−CR−055−CVE ) as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 04/16/2009)
      04/16/2009   42     RESPONSE in Opposition to Motion Consolidated (Re: 37 MOTION Request
                          for Release of Affidavit and Transcript surrounding issuance of Search
                          Warrant dated 9.15.05, 33 MOTION for Bill of Particulars, 8 MOTION for
                          Bill of Particulars, 35 MOTION for Protective Order Pending Prospective
                          Franks Hearing, 30 MOTION to Clarify appointment of Honorable Judge
                          Stephen P. Friot, 6 MOTION for In Camera Review of Fifth Amendment
                          Proffer, 36 MOTION to Unseal Document(s) in 03−CR−55E ) by USA as to
                          Lindsey Kent Springer, Oscar Amos Stilley (With attachments) (O'Reilly,
                          Charles) (Entered: 04/16/2009)
      04/22/2009   43     MINUTES of Proceedings − held before Judge Stephen P Friot: Motion
                          Hearing held on 4/22/2009, Scheduling Conference held on 4/22/2009, ruling
                          on motion(s)/document(s): #30 Granted, #6, 8, 33 Denied, #36, 37, 39 Granted
                          in Part, Denied in part, taking motion(s) under advisement, setting/resetting
                          deadline(s)/hearing(s): ( Motions due by 6/1/2009, Responses due by
                          6/15/2009, Motion Hearing set for 7/9/2009 at 09:00 AM before Judge
                          Stephen P Friot, Jury Instructions, Voir Dire & Trial Briefs due by 8/3/2009,
                          Pretrial Conference set for 10/21/2009 at 10:00 AM before Judge Stephen P
                          Friot, Jury Trial set for 10/26/2009 at 09:30 AM before Judge Stephen P Friot)
                          as to Lindsey Kent Springer, Oscar Amos Stilley (Re: 37 MOTION Request
                          for Release of Affidavit and Transcript surrounding issuance of Search
                          Warrant dated 9.15.05, 33 MOTION for Bill of Particulars, 8 MOTION for
                          Bill of Particulars, 39 MOTION Unopposed Motion for Limited Unsealing of
                          Search Warrant and Affidavit and Materials from Case 03−CR−055−CVE, 35
                          MOTION for Protective Order Pending Prospective Franks Hearing, 30
                          MOTION to Clarify appointment of Honorable Judge Stephen P. Friot, 6
                          MOTION for In Camera Review of Fifth Amendment Proffer, 36 MOTION to
                          Unseal Document(s) in 03−CR−55E ) (Court Reporter: Tracy Washbourne)
                          (pll, Dpty Clk) (Entered: 04/22/2009)
      04/29/2009   46     ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                          Responses due by 5/11/2009) (Re: 44 Reply to Response to Motion ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sjm, Dpty Clk) Modified on
                          5/1/2009 to seal PDF, as ENTERED IN ERROR; duplicate entry see Doc # 45
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                  Page 7 of 46



                          for correct entry (tjc, Dpty Clk). (Entered: 04/30/2009) Contains One or More
                          Restricted PDFs
      05/01/2009          NOTICE of Docket Entry Modification; Error: Duplicate entry, ENTERED IN
                          ERROR; Correction: Sealed PDF as this was a duplicate entry; see Doc # 45
                          for correct entry (Re: 46 Order,, Setting/Resetting Deadline(s)/Hearing(s),
                          Setting/Resetting Deadline(s)/Hearing(s),, ) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (tjc, Dpty Clk) (Entered: 05/01/2009)
      05/08/2009   49     MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) July 9, 2009,
                          Hearing on Motion for Franks Issue and/or Suppress (Re: 43 Minutes of
                          Motion Hearing,,,,,, Minutes of Scheduling Conference,,,,,, Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Taking Motion(s)
                          Under Advisement, Taking Motion(s) Under Advisement, Taking Motion(s)
                          Under Advisement, Taking Motion(s) Under Advisement, Taking Motion(s)
                          Under Advisement, Taking Motion(s) Under Advisement, Setting/Resetting
                          Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s),
                          Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                          Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s),
                          Setting/Resetting Deadline(s)/Hearing(s) ) by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles) (Entered:
                          05/08/2009)
      05/12/2009   50     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #49
                          Granted in Part, setting/resetting deadline(s)/hearing(s): ( Motion Hearing set
                          for 7/2/2009 at 09:00 AM before Judge Stephen P Friot) (Re: 49 MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) ) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (pll, Dpty Clk) (Entered: 05/12/2009)
      05/15/2009   67     MOTION to Dismiss Indictment/Information/Complaint for fraud and
                          violation of the 5th Amendment (Re: 2 Indictment ) by Oscar Amos Stilley as
                          to Oscar Amos Stilley (Stilley, Oscar) Modified on 5/18/2009 to remove
                          defendant Lindsey Springer from text (lml, Dpty Clk). (Entered: 05/15/2009)
      05/15/2009   68     BRIEF in Support of Motion to dismiss for fraud and violation of the 5th
                          Amendment (Re: 67 MOTION to Dismiss Indictment/Information/Complaint )
                          by Oscar Amos Stilley as to Oscar Amos Stilley (Stilley, Oscar) Modified on
                          5/18/2009 to remove Lindsey Springer from text (lml, Dpty Clk). (Entered:
                          05/15/2009)
      05/15/2009   69     JOINDER of motions filed by Lindsey Springer (in [51−66] Generally
                          dispositive filed on May 15, 2009) by Oscar Amos Stilley as to Oscar Amos
                          Stilley (Stilley, Oscar) Modified on 5/18/2009 to remove Lindsey Springer
                          from text (lml, Dpty Clk). (Entered: 05/15/2009)
      05/18/2009          NOTICE of Docket Entry Modification; Error: These documents were filed as
                          to both defendants in error; Correction: Edited docket text and removed
                          Lindsey Kent Springer from text (Re: 67 MOTION to Dismiss
                          Indictment/Information/Complaint for fraud and violation of the 5th
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                  Page 8 of 46



                          Amendment, 69 JOINDER (in [51−66] Generally dispositive filed on May 15,
                          2009), 68 Brief in Support of Motion ) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (lml, Dpty Clk) (Entered: 05/18/2009)
      05/26/2009   70     ORDER by Judge Stephen P Friot vacating the stay entered by the court on
                          4/22/2009 & directing government to turn over materials to defendant Stilley,
                          ruling on motion(s)/document(s): #35 denied (Re: 35 MOTION for Protective
                          Order Pending Prospective Franks Hearing, 42 Response in Opposition to
                          Motion,, 43 Minutes of Motion Hearing,,,,,, Minutes of Scheduling
                          Conference,,,,,, Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Taking Motion(s) Under Advisement, Taking
                          Motion(s) Under Advisement, Taking Motion(s) Under Advisement, Taking
                          Motion(s) Under Advisement, Taking Motion(s) Under Advisement, Taking
                          Motion(s) Under Advisement, Setting/Resetting Deadline(s)/Hearing(s),
                          Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                          Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s),
                          Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                          Deadline(s)/Hearing(s), 44 Reply to Response to Motion, 48 Surreply to
                          Motion ) as to Lindsey Kent Springer, Oscar Amos Stilley (djh, Dpty Clk)
                          (Entered: 05/26/2009)
      05/29/2009   71     RESPONSE in Opposition to Motion Fifty−one through Sixty−seven (Re: 67
                          MOTION to Dismiss Indictment/Information/Complaint for fraud and
                          violation of the 5th Amendment, 59 Fifth MOTION to Dismiss
                          Indictment/Information/Complaint on Fifth Amendment Grounds, 63 Seventh
                          MOTION to Dismiss Indictment/Information/Complaint for failure to allege
                          certain specific provisions, 69 JOINDER (in [51−66] Generally dispositive
                          filed on May 15, 2009), 55 Third MOTION to Dismiss
                          Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First
                          MOTION to Dismiss Indictment/Information/Complaint for lack of venue, 53
                          Second MOTION to Dismiss Indictment/Information/Complaint for violations
                          of Paperwork Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                          Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                          Selective Prosecution, 57 Fourth MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege tax deficiency element,
                          61 Sixth MOTION to Dismiss Count(s) One, Two, Three and Four ) by USA
                          as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered:
                          05/29/2009)
      06/01/2009   72     MOTION to Suppress Grand Jury testimony and evidence by Oscar Amos
                          Stilley (Stilley, Oscar) (Entered: 06/01/2009)
      06/01/2009   73     BRIEF in Support of Motion (Re: 72 MOTION to Suppress Grand Jury
                          testimony and evidence ) by Oscar Amos Stilley (With attachments) (Stilley,
                          Oscar) (Entered: 06/01/2009)
      06/02/2009   78     SEALED MOTION (O'Reilly, Charles) (Entered: 06/02/2009) Contains One
                          or More Restricted PDFs
      06/15/2009   80     RESPONSE in Opposition to Motion Consolidated (Re: 77 MOTION for
                          Hearing (submitted as part of Doc # 74 ), 72 MOTION to Suppress Grand
                          Jury testimony and evidence, 74 MOTION to Suppress ) by USA as to Lindsey
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                     Page 9 of 46



                          Kent Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles)
                          (Entered: 06/15/2009)
      06/15/2009   83     MOTION to Accelerate/Extend/Reset Hearings/Deadlines for filing of motion
                          for bill of particulars by Oscar Amos Stilley (Stilley, Oscar) Modified on
                          6/16/2009; this is a two−event document and combined documents are not
                          allowed with CM/ECF; also changed text to reflect correct motion event (sac,
                          Dpty Clk). (Entered: 06/15/2009)
      06/16/2009   84     MINUTE ORDER by Court Clerk, Having reviewed the docket entry and/or
                          PDF for Dkt # 83, the Court has determined that this document contains two
                          events and combined documents are not allowed with CM/ECF. Attorney
                          Oscar Stilley is hereby directed to re−file his Adoption, using that event. (Re:
                          83 MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s)MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) ) as to Oscar Amos Stilley
                          (sac, Dpty Clk) (Entered: 06/16/2009)
      06/17/2009   85     MINUTE ORDER by Judge Stephen P Friot, setting/resetting
                          deadline(s)/hearing(s): ( Motion Hearing set for 7/2/2009 at 09:00 AM before
                          Judge Stephen P Friot), ruling on motion(s)/document(s): #83 Denied (Re: 82
                          MOTION for Bill of Particulars, 83 MOTION to Accelerate/Extend/Reset
                          Hearing(s)/Deadline(s)MOTION to Accelerate/Extend/Reset
                          Hearing(s)/Deadline(s) ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) (Entered: 06/17/2009)
      06/18/2009   87     ORDER by Judge Stephen P Friot , directing Sur−Reply, ruling on
                          motion(s)/document(s): #86 Denied (Re: 86 MOTION to Strike Document(s),
                          67 MOTION to Dismiss Indictment/Information/Complaint for fraud and
                          violation of the 5th Amendment, 59 Fifth MOTION to Dismiss
                          Indictment/Information/Complaint on Fifth Amendment Grounds, 63 Seventh
                          MOTION to Dismiss Indictment/Information/Complaint for failure to allege
                          certain specific provisions, 55 Third MOTION to Dismiss
                          Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First
                          MOTION to Dismiss Indictment/Information/Complaint for lack of venue, 53
                          Second MOTION to Dismiss Indictment/Information/Complaint for violations
                          of Paperwork Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                          Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                          Selective Prosecution, 57 Fourth MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege tax deficiency element,
                          69 JOINDER of motions filed by Lindsey Springer (in [51−66] Generally
                          dispositive filed on May 15, 2009), 61 Sixth MOTION to Dismiss Count(s)
                          One, Two, Three and Four ) as to Lindsey Kent Springer, Oscar Amos Stilley
                          (pll, Dpty Clk) (Entered: 06/18/2009)
      06/23/2009   91     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #90
                          Granted (Re: 90 MOTION for Leave to Exceed Page Limitation, 67 MOTION
                          to Dismiss Indictment/Information/Complaint for fraud and violation of the
                          5th Amendment, 59 Fifth MOTION to Dismiss
                          Indictment/Information/Complaint on Fifth Amendment Grounds, 63 Seventh
                          MOTION to Dismiss Indictment/Information/Complaint for failure to allege
                          certain specific provisions, 55 Third MOTION to Dismiss
                          Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First
                          MOTION to Dismiss Indictment/Information/Complaint for lack of venue, 53
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                     Page 10 of
                                        46


                          Second MOTION to Dismiss Indictment/Information/Complaint for violations
                          of Paperwork Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                          Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                          Selective Prosecution, 57 Fourth MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege tax deficiency element,
                          61 Sixth MOTION to Dismiss Count(s) One, Two, Three and Four ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          06/23/2009)
     06/23/2009    92     JOINDER (in [81; 82] Springer's Reply Regarding Opposition to Springer's
                          Motion to Dismiss; Motion for Bill of Particulars filed on 6/15/2009;
                          6/15/2009) as to Oscar Amos Stilley (Stilley, Oscar) (Entered: 06/23/2009)
     06/25/2009    93     SURREPLY (Re: 51 First MOTION to Dismiss, 53 Second MOTION to
                          Dismiss, 55 Third MOTION to Dismiss, 57 Fourth MOTION to Dismiss, 59
                          Fifth MOTION to Dismiss, 61 Sixth MOTION to Dismiss, 63 Seventh
                          MOTION to Dismiss, 65 Eighth MOTION to Dismiss) by USA as to Lindsey
                          Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) Modified on 6/29/2009
                          to change text to reflect correct event and to change links to reflect base
                          motions (sac, Dpty Clk). (Entered: 06/25/2009)
     06/29/2009           NOTICE of Docket Entry Modification; Error: wrong event selected (Reply);
                          wrong links made; Correction: changed text to reflect correct event (Surreply);
                          created links to base motions (Re: 93 Reply, ) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (sac, Dpty Clk) (Entered: 06/29/2009)
     06/30/2009    94     MOTION to Quash Subpoenas by USA as to Lindsey Kent Springer, Oscar
                          Amos Stilley (With attachments) (O'Reilly, Charles) (Entered: 06/30/2009)
     07/01/2009    97     RESPONSE in Opposition to Motion (Re: 82 MOTION for Bill of Particulars
                          ) by USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles)
                          (Entered: 07/01/2009)
     07/01/2009    98     Clarification of (Re: 94 MOTION to Quash ) by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (O'Reilly, Charles) Modified on 7/2/2009 to
                          correct title of event (pll, Dpty Clk). Modified on 7/2/2009 (pll, Dpty Clk).
                          (Entered: 07/01/2009)
     07/01/2009    99     MOTION to Quash subpoena by Eddy Lynn Patterson as to Lindsey Kent
                          Springer, Oscar Amos Stilley (sjm, Dpty Clk) Modified on 7/6/2009 to correct
                          file date (lml, Dpty Clk). (Entered: 07/02/2009)
     07/02/2009   100     MINUTES of Proceedings − held before Judge Stephen P Friot: Motion
                          Hearing held on 7/2/2009, ruling on motion(s)/document(s):
                          #51,53,55,57,59,61,63,65,67,69,72,74,77,92 Denied, #82 Granted in Part,
                          Denied in part, #94 Moot, striking/terminating deadline(s)/hearing(s) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (Re: 67 MOTION to Dismiss
                          Indictment/Information/Complaint for fraud and violation of the 5th
                          Amendment, 59 Fifth MOTION to Dismiss Indictment/Information/Complaint
                          on Fifth Amendment Grounds, 63 Seventh MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege certain specific
                          provisions, 77 MOTION for Hearing (submitted as part of Doc # 74 ), 92
                          JOINDER (in [81; 82] Springer's Reply Regarding Opposition to Springer's
                          Motion to Dismiss; Motion for Bill of Particulars filed on 6/15/2009;
                          6/15/2009), 69 JOINDER (in [51−66] Generally dispositive filed on May 15,
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                   Page 11 of
                                        46


                          2009), 55 Third MOTION to Dismiss Indictment/Information/Complaint
                          pursuant to CIR v. Duberstein, 94 MOTION to Quash, 51 First MOTION to
                          Dismiss Indictment/Information/Complaint for lack of venue, 53 Second
                          MOTION to Dismiss Indictment/Information/Complaint for violations of
                          Paperwork Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                          Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                          Selective Prosecution, 57 Fourth MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege tax deficiency element,
                          72 MOTION to Suppress Grand Jury testimony and evidence, 82 MOTION
                          for Bill of Particulars, 61 Sixth MOTION to Dismiss Count(s) One, Two,
                          Three and Four, 74 MOTION to Suppress ) (Court Reporter: Tracy
                          Washbourne) (pll, Dpty Clk) Modified on 7/8/2009 to indicate attached PDF
                          has incorrect hearing date. Date hearing held was 7/2/2009 (pll, Dpty Clk).
                          (Entered: 07/02/2009)
     07/02/2009   101     MINUTE ORDER by Judge Stephen P Friot : Following the hearing held this
                          date, the Motion to Quash filed by Eddy Lynn Patterson is hereby moot, ruling
                          on motion(s)/document(s): #99 Moot (Re: 99 MOTION to Quash subpoena )
                          as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          07/02/2009)
     07/02/2009   103     SEALED EXHIBIT(S) to Order/Minutes (Re: 100 Minutes of Motion
                          Hearing,,,,,,,, Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Striking/Terminating Deadline(s)/Hearing(s),
                          Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                          Deadline(s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                          Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                          Deadline(s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                          Striking/Terminating Deadline(s)/Hearing(s) ) (pll, Dpty Clk) (Entered:
                          07/14/2009) Contains One or More Restricted PDFs
     07/08/2009   102     ORDER by Judge Stephen P Friot re: jury instructions as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 07/08/2009)
     07/14/2009   104     BILL OF PARTICULARS (Re: 82 MOTION for Bill of Particulars ) by USA
                          as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered:
                          07/14/2009)
     08/03/2009   107     PROPOSED JURY INSTRUCTIONS by USA as to Lindsey Kent Springer,
                          Oscar Amos Stilley (O'Reilly, Charles) (Entered: 08/03/2009)
     08/03/2009   108     First PROPOSED JURY INSTRUCTIONS as to Oscar Amos Stilley (Stilley,
                          Oscar) (Entered: 08/03/2009)
     08/03/2009   109     First MOTION to Dismiss Count(s) 1 Conspiracy charge (Re: 2 Indictment )
                          by Oscar Amos Stilley (Stilley, Oscar) (Entered: 08/03/2009)
     08/03/2009   110     BRIEF in Support of Motion (Re: 109 First MOTION to Dismiss Count(s) 1
                          Conspiracy charge ) by Oscar Amos Stilley (Stilley, Oscar) (Entered:
                          08/03/2009)
     08/04/2009   111
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                     Page 12 of
                                        46


                          ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #106
                          Denied (Re: 106 MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s)
                          ) as to Lindsey Kent Springer, Oscar Amos Stilley (cds, Dpty Clk) (Entered:
                          08/04/2009)
     08/05/2009   112     RESPONSE in Opposition to Motion (Re: 109 First MOTION to Dismiss
                          Count(s) 1 Conspiracy charge ) by USA as to Oscar Amos Stilley (O'Reilly,
                          Charles) Modified on 8/6/2009 to delete "as to" defendant Springer (sac, Dpty
                          Clk). (Entered: 08/05/2009)
     08/06/2009   114     TRANSCRIPT of Proceedings (Unredacted) of Motion Hearing held on
                          04/22/2009 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                          (Pages: 132). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 43 Minutes of Motion Hearing, Minutes of
                          Scheduling Conference, Ruling on Motion(s)/Document(s), Taking Motion(s)
                          Under Advisement, Setting/Resetting Deadline(s)/Hearing(s)) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 11/5/2009 to
                          remove transcript access restriction (a−hc, Dpty Clk). (Entered: 08/06/2009)
     08/06/2009   115     TRANSCRIPT of Proceedings (Unredacted) of Motions Hearing held on
                          7/2/09 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                          (Pages: 159). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 100 Minutes of Motion Hearing, Ruling on
                          Motion(s)/Document(s), Striking/Terminating Deadline(s)/Hearing(s)) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) Modified on
                          11/5/2009 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          08/06/2009)
     08/06/2009   116     RESPONSE in Opposition to Motion (Re: 105 Second MOTION for Bill of
                          Particulars ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) Modified
                          on 8/7/2009 to delete "as to Oscar Amos Stilley" as this document states it is
                          as to defendant Springer only (sac, Dpty Clk). (Entered: 08/06/2009)
     08/12/2009   120     OBJECTION to Proposed Jury Instructions (Re: 108 Proposed Jury
                          Instructions ) by USA as to Oscar Amos Stilley (With attachments) (O'Reilly,
                          Charles) (Entered: 08/12/2009)
     08/13/2009   126     NOTICE of Intent to Use Expert Witness Testimony by USA as to Lindsey
                          Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 08/13/2009)
     08/17/2009   129     OBJECTION to Proposed Jury Instructions Of the government (Re: 108
                          Proposed Jury Instructions ) as to Oscar Amos Stilley (Stilley, Oscar)
                          (Entered: 08/17/2009)
     08/19/2009   131
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                   Page 13 of
                                        46


                          REPLY to Response to Motion (Re: 109 First MOTION to Dismiss Count(s) 1
                          Conspiracy charge ) by Oscar Amos Stilley (With attachments) (Stilley,
                          Oscar) (Entered: 08/19/2009)
     08/19/2009   132     JOINDER (SUBMITTED AS DOC # 131 )(in 123 Eighth Motion to Dismiss
                          Count(s) filed on 8/12/09) as to Oscar Amos Stilley (lml, Dpty Clk) (Entered:
                          08/20/2009)
     08/19/2009   133     ADOPTION (SUBMITTED AS DOC # 131 ) (of [124, 130] Eighth Brief in
                          Support of Motion, Reply to Response to Motion filed on 8/12/09, 8/19/09) as
                          to Oscar Amos Stilley (lml, Dpty Clk) (Entered: 08/20/2009)
     08/20/2009           NOTICE of Docket Entry Modification; Error: Document No. 131 is a
                          multi−event document and only one event was e−filed; Correction: Filed the
                          remaining events (Joinder in Motion) and (Adoption) as Document Nos. 132
                          & 133 (Re: 131 Reply to Response to Motion ) as to Oscar Amos Stilley (lml,
                          Dpty Clk) (Entered: 08/20/2009)
     09/10/2009   134     NOTICE Pursuant to Federal Rule of Evidence 404(b) by USA as to Lindsey
                          Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 09/10/2009)
     09/16/2009   135     ORDER by Judge Stephen P Friot re: Pretrial Conference as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 09/16/2009)
     09/18/2009   136     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #105
                          denied; 109 denied; #123 denied (Re: 105 Second MOTION for Bill of
                          Particulars, 109 First MOTION to Dismiss Count(s) 1 Conspiracy charge, 123
                          Eighth MOTION to Dismiss Count(s) One, Two, Three, Four, Five and Six )
                          as to Lindsey Kent Springer, Oscar Amos Stilley (sjm, Dpty Clk) (Entered:
                          09/18/2009)
     09/21/2009   137     MOTION in Limine by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                          (O'Reilly, Charles) (Entered: 09/21/2009)
     09/21/2009   138     TRIAL BRIEF by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                          (Snoke, Kenneth) (Entered: 09/21/2009)
     09/21/2009   139     NOTICE of Government's Proposed Summary of Indictment by USA as to
                          Lindsey Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) Modified on
                          9/22/2009 to reflect correct event (tjc, Dpty Clk). (Entered: 09/21/2009)
     09/21/2009   140     NOTICE of Summary of Indictment by Oscar Amos Stilley (Stilley, Oscar)
                          Modified on 9/22/2009 to reflect correct event (tjc, Dpty Clk). (Entered:
                          09/21/2009)
     09/21/2009   149     MOTION in Limine regarding hearsay and confrontation issues by Oscar
                          Amos Stilley (Stilley, Oscar) (Entered: 09/21/2009)
     09/21/2009   152     MOTION for Subpoena(s) pursuant to Rule 17(b) by Oscar Amos Stilley
                          (Stilley, Oscar) (Entered: 09/21/2009)
     09/21/2009   153     BRIEF in Support of Motion (Re: 152 MOTION for Subpoena(s) pursuant to
                          Rule 17(b) ) by Oscar Amos Stilley (Stilley, Oscar) (Entered: 09/21/2009)
     09/21/2009   155     JOINDER (in [141, 142, 144, 145, 146, 147, 148, 150, and 151] Motions in
                          Limine, for subpoenas pursuant to Rule 17(b), and trial brief filed on
                          9−21−09) as to Oscar Amos Stilley (Stilley, Oscar) (Entered: 09/22/2009)
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                   Page 14 of
                                        46


     09/22/2009           NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Motion for Miscellaneous Relief); Correction: Edited docket
                          text to reflect correct event (Notice) (Re: 139 MOTION Government's
                          Proposed Summary of Indictment ) as to Lindsey Kent Springer, Oscar Amos
                          Stilley (tjc, Dpty Clk) (Entered: 09/22/2009)
     09/22/2009           NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Motion for Miscellaneous Relief); Correction: Edited docket
                          text to reflect correct event (Notice) (Re: 140 MOTION Summary of
                          Indictment ) as to Oscar Amos Stilley (tjc, Dpty Clk) (Entered: 09/22/2009)
     09/22/2009   156     ORDER by Judge Stephen P Friot : setting ex parte hearing, setting/resetting
                          deadline(s)/hearing(s): ( Motion Hearing set for 10/9/2009 at 01:30 PM before
                          Judge Stephen P Friot) (Re: 152 MOTION for Subpoena(s) pursuant to Rule
                          17(b), 141 MOTION for Subpoena(s) under Rule 17 ) as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 09/22/2009)
     09/22/2009   157     ORDER by Judge Stephen P Friot re: 10/9/09 ex parte hearing (Re: 152
                          MOTION for Subpoena(s) pursuant to Rule 17(b), 156 Order,,
                          Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                          Deadline(s)/Hearing(s),, 141 MOTION for Subpoena(s) under Rule 17 ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          09/22/2009)
     09/23/2009   158     ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                          Motion Hearing set for 10/21/2009 at 09:00 AM before Judge Stephen P Friot)
                          (Re: 145 Second MOTION in Limine, 150 Sixth MOTION in Limine, 137
                          MOTION in Limine, 146 Third MOTION in Limine, 149 MOTION in Limine
                          regarding hearsay and confrontation issues, 148 Fifth MOTION in Limine,
                          144 First MOTION in Limine, 151 Seventh MOTION in Limine, 147 Fourth
                          MOTION in Limine ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) (Entered: 09/23/2009)
     09/25/2009   160     SEALED MOTION (O'Reilly, Charles) Modified on 10/9/2009; this document
                          is STRICKEN per 183 (sac, Dpty Clk). (Entered: 09/25/2009) Contains One or
                          More Restricted PDFs
     09/25/2009   162     MOTION TAKE RULE 15 DEPOSITION by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles) (Entered:
                          09/25/2009)
     09/30/2009   165     MINUTE ORDER by Judge Stephen P Friot : Until further notice, all
                          hearings in this case will be held at the Boulder Courthouse, 224 S Boulder,
                          3rd Floor Courtroom, Tulsa, OK as to Lindsey Kent Springer, Oscar Amos
                          Stilley (pll, Dpty Clk) (Entered: 09/30/2009)
     10/01/2009   170     SEALED DOCUMENT (O'Reilly, Charles) Modified on 10/2/2009 to correct
                          title of event (lml, Dpty Clk). (Entered: 10/01/2009) Contains One or More
                          Restricted PDFs
     10/05/2009   173     RESPONSE in Opposition to Motion (Re: 145 Second MOTION in Limine,
                          150 Sixth MOTION in Limine, 146 Third MOTION in Limine, 149 MOTION
                          in Limine regarding hearsay and confrontation issues, 155 JOINDER (in
                          [141, 142, 144, 145, 146, 147, 148, 150, and 151] Motions in Limine, for
                          subpoenas pursuant to Rule 17(b), and trial brief filed on 9−21−09), 148 Fifth
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                   Page 15 of
                                        46


                          MOTION in Limine, 144 First MOTION in Limine, 151 Seventh MOTION in
                          Limine, 147 Fourth MOTION in Limine ) by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 10/05/2009)
     10/05/2009   174     SEALED MOTION (O'Reilly, Charles) (Entered: 10/05/2009) Contains One
                          or More Restricted PDFs
     10/05/2009   175     RESPONSE in Opposition to Motion (Re: 152 MOTION for Subpoena(s)
                          pursuant to Rule 17(b), 155 JOINDER (in [141, 142, 144, 145, 146, 147, 148,
                          150, and 151] Motions in Limine, for subpoenas pursuant to Rule 17(b), and
                          trial brief filed on 9−21−09), 141 MOTION for Subpoena(s) under Rule 17 )
                          by USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles)
                          (Entered: 10/05/2009)
     10/05/2009   176     RESPONSE in Opposition to Motion (Re: 162 MOTION TAKE RULE 15
                          DEPOSITION ) by Oscar Amos Stilley (Stilley, Oscar) (Entered: 10/05/2009)
     10/06/2009   178     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #162
                          Granted (Re: 162 MOTION TAKE RULE 15 DEPOSITION ) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 10/06/2009)
     10/07/2009   181     SEALED MOTION (O'Reilly, Charles) Modified on 6/4/2010 to unseal per
                          Order # 370 (lml, Dpty Clk). (Entered: 10/07/2009)
     10/07/2009   182     SEALED DOCUMENT (O'Reilly, Charles) Modified on 6/4/2010 to unseal
                          per Order # 370 (lml, Dpty Clk). (Entered: 10/07/2009)
     10/08/2009   183     ORDER by Judge Stephen P Friot, striking/withdrawing document(s) (Re: 160
                          SEALED MOTION ) (Documents Terminated: 160 SEALED MOTION ) as
                          to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          10/08/2009)
     10/08/2009   186     SEALED ORDER (s−srb, Dpty Clk) Modified on 6/4/2010 to unseal per
                          Order # 370 (lml, Dpty Clk). (Entered: 10/08/2009)
     10/09/2009   189     NOTICE with Respect to Court's Order (Dkt#178) by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (Snoke, Kenneth) (Entered: 10/09/2009)
     10/09/2009   190     ERRATA/CORRECTION (Re: 189 Notice (Other) ) by USA as to Lindsey
                          Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) Modified on 10/13/2009
                          to correct title of event (lml, Dpty Clk). (Entered: 10/09/2009)
     10/09/2009   191     SEALED MINUTES (pll, Dpty Clk) (Entered: 10/13/2009) Contains One or
                          More Restricted PDFs
     10/13/2009           NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Notice−Other); Correction: Edited docket text to reflect
                          correct event (Errata/Correction to Document) (Re: 190 Notice (Other) ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (lml, Dpty Clk) (Entered:
                          10/13/2009)
     10/13/2009   195     ***Remark: arrest warrant issued for material witness as to Lindsey Kent
                          Springer, Oscar Amos Stilley (sjm, Dpty Clk) Modified on 10/14/2009 to
                          unseal docket entry (sjm, Dpty Clk). (Entered: 10/14/2009) Contains One or
                          More Restricted PDFs
     10/14/2009   198
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                    Page 16 of
                                        46


                          RESPONSE in Opposition to Motion (Re: 179 MOTION Compel Clerk of
                          Court to Comply with 28 U.S.C. Section 1867(f) and Test v. U.S. ) by USA as
                          to Lindsey Kent Springer (Snoke, Kenneth) Modified on 10/15/2009 to delete
                          "as to" Oscar Stilley since this document is only as to Lindsey Kent Springer
                          (sac, Dpty Clk). (Entered: 10/14/2009)
     10/14/2009   199     RESPONSE (Re: 134 NOTICE ) by Oscar Amos Stilley (With attachments)
                          (Stilley, Oscar) Modified on 10/15/2009 to change text to reflect correct event
                          and change link (sac, Dpty Clk). (Entered: 10/14/2009)
     10/15/2009           NOTICE of Docket Entry Modification; Error: all defendants were selected as
                          to, but document only pertains to Lindsey Springer; Correction: deleted as to
                          defendant Oscar Stilley (Re: 198 Response in Opposition to Motion, ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sac, Dpty Clk) (Entered:
                          10/15/2009)
     10/15/2009           NOTICE of Docket Entry Modification; Error: wrong event selected
                          (Response in Opposition to Motion); wrong link made; Correction: changed
                          text to reflect correct event (Response); changed link (Re: 199 Response in
                          Opposition to Motion ) as to Oscar Amos Stilley (sac, Dpty Clk) (Entered:
                          10/15/2009)
     10/16/2009   200     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #179
                          granted with specific limitations (Re: 179 MOTION Compel Clerk of Court to
                          Comply with 28 U.S.C. Section 1867(f) and Test v. U.S. ) as to Lindsey Kent
                          Springer(djh, Dpty Clk) (Entered: 10/16/2009)
     10/20/2009   202     SEALED MOTION (Snoke, Kenneth) Modified on 6/4/2010 to unseal per
                          Order # 370 (lml, Dpty Clk). (Entered: 10/20/2009)
     10/20/2009   203     SEALED ORDER (pll, Dpty Clk) Modified on 6/4/2010 to unseal per Order #
                          370 (lml, Dpty Clk). (Entered: 10/20/2009)
     10/20/2009   204     SEALED MOTION (O'Reilly, Charles) (Entered: 10/20/2009) Contains One
                          or More Restricted PDFs
     10/20/2009   205     SEALED MOTION (O'Reilly, Charles) (Entered: 10/20/2009) Contains One
                          or More Restricted PDFs
     10/20/2009   206     MOTION to Exclude MENTION OF THE TESTIMONY OF VIKKI
                          WIGGINS PRIOR TO A REASONABLE TIME AFTER PRODUCTION OF
                          THE TRANSCRIPT OF HER TESTIMONY by Oscar Amos Stilley (Stilley,
                          Oscar) (Entered: 10/20/2009)
     10/21/2009   207     MINUTES of Proceedings − held before Judge Stephen P Friot: Motion
                          Hearing held on 10/21/2009, Pretrial Conference held on 10/21/2009, ruling
                          on motion(s)/document(s): #137,155 grant in part, deny in part;
                          144,146,147,150,151,159 denied; 148, 204, 205, 206 granted,
                          striking/terminating deadline(s)/hearing(s) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (Re: 204 SEALED MOTION, 145 Second MOTION in Limine,
                          150 Sixth MOTION in Limine, 137 MOTION in Limine, 146 Third MOTION
                          in Limine, 149 MOTION in Limine regarding hearsay and confrontation
                          issues, 155 JOINDER (in [141, 142, 144, 145, 146, 147, 148, 150, and 151]
                          Motions in Limine, for subpoenas pursuant to Rule 17(b), and trial brief filed
                          on 9−21−09), 148 Fifth MOTION in Limine, 159 MOTION Emergency
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                     Page 17 of
                                        46


                          Motion Regarding Denny Patridge, 144 First MOTION in Limine, 205
                          SEALED MOTION, 206 MOTION to Exclude MENTION OF THE
                          TESTIMONY OF VIKKI WIGGINS PRIOR TO A REASONABLE TIME
                          AFTER PRODUCTION OF THE TRANSCRIPT OF HER TESTIMONY,
                          151 Seventh MOTION in Limine, 147 Fourth MOTION in Limine ) (Court
                          Reporter: Tracy Washbourne) (pll, Dpty Clk) (Entered: 10/22/2009)
     10/21/2009   208     ***Remark: Deposition Transcript of Vikki Lynn Wiggins received by court as
                          to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          10/22/2009)
     10/24/2009   209     PROPOSED VOIR DIRE by USA as to Lindsey Kent Springer, Oscar Amos
                          Stilley (O'Reilly, Charles) (Entered: 10/24/2009)
     10/24/2009   210     MOTION to Quash Testimony of Vikki Wiggins by Oscar Amos Stilley
                          (Stilley, Oscar) (Entered: 10/24/2009)
     10/24/2009   211     BRIEF in Support of Motion (Re: 210 MOTION to Quash Testimony of Vikki
                          Wiggins ) by Oscar Amos Stilley (Stilley, Oscar) (Entered: 10/24/2009)
     10/26/2009   212     RESPONSE in Opposition to Motion (Re: 210 MOTION to Quash Testimony
                          of Vikki Wiggins ) by USA as to Oscar Amos Stilley (O'Reilly, Charles)
                          Modified on 10/27/2009 to remove Lindsey Kent Springer name from text, as
                          his name should not have been selected, as this pleading does not pertain to
                          him (tjc, Dpty Clk). (Entered: 10/26/2009)
     10/26/2009   213     NOTICE Regarding Defendants' Discovery by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 10/26/2009)
     10/26/2009   214     SEALED DOCUMENT (s−srb, Dpty Clk) (Entered: 10/26/2009) Contains
                          One or More Restricted PDFs
     10/26/2009   215     MINUTES of Proceedings − held before Judge Stephen P Friot: Voir
                          Dire/Jury Selection began as to Lindsey Kent Springer, Oscar Amos Stilley
                          (Court Reporter: Tracy Washbourne) (pll, Dpty Clk) (Entered: 10/26/2009)
     10/26/2009   216     MINUTES of Proceedings − held before Judge Stephen P Friot: Voir
                          Dire/Jury Selection held on 10/26/2009 as to Lindsey Kent Springer, Oscar
                          Amos Stilley (pll, Dpty Clk) (Entered: 10/26/2009)
     10/26/2009   217     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          began as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk)
                          (Entered: 10/26/2009)
     10/26/2009   218     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held , continued to following day, setting/resetting scheduling order date(s): (
                          Jury Trial set for 10/27/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          10/26/2009)
     10/27/2009   220     ORDER by Judge Stephen P Friot ruling on Government's Oral Motion re:
                          witness Philip Roberts as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) Modified on 10/27/2009 to correct title(pll, Dpty Clk). (Entered:
                          10/27/2009)
     10/27/2009   221
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                       Page 18 of
                                        46


                          MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held, ruling on motion(s)/document(s): #210 and 219 denied as to Lindsey
                          Kent Springer, Oscar Amos Stilley (Re: 210 MOTION to Quash Testimony of
                          Vikki Wiggins, 219 JOINDER (in 210 Motion to Quash filed on 10/24/09) )
                          (cds, Dpty Clk) (Entered: 10/27/2009)
     10/28/2009   222     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held, setting/resetting deadline(s)/hearing(s): ( Jury Trial set for 10/29/2009 at
                          09:00 AM before Judge Stephen P Friot, Motion Hearing set for 11/3/2009 at
                          05:30 PM before Judge Stephen P Friot) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (cds, Dpty Clk) (Entered: 10/28/2009)
     10/29/2009   223     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held, ruling on motion(s)/document(s): #145 and 149 Denied, setting/resetting
                          scheduling order date(s): ( Jury Trial set for 10/30/2009 at 09:00 AM before
                          Judge Stephen P Friot) as to Lindsey Kent Springer, Oscar Amos Stilley (Re:
                          145 Second MOTION in Limine, 149 MOTION in Limine regarding hearsay
                          and confrontation issues ) (cds, Dpty Clk) (Entered: 10/30/2009)
     10/30/2009   229     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held, setting/resetting scheduling order date(s): ( Jury Trial set for 11/2/2009 at
                          09:00 AM before Judge Stephen P Friot) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (cds, Dpty Clk) (Entered: 11/03/2009)
     11/02/2009   230     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held, setting/resetting scheduling order date(s): continued to following day (
                          Jury Trial set for 11/3/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (Court Reporter: Tracy
                          Washbourne) (pll, Dpty Clk) (Entered: 11/03/2009)
     11/03/2009   228     NOTICE re: Proposed Jury Instructions by USA as to Lindsey Kent Springer,
                          Oscar Amos Stilley (O'Reilly, Charles) Modified on 11/4/2009 to correct event
                          (tjc, Dpty Clk). (Entered: 11/03/2009)
     11/03/2009   231     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held, setting/resetting scheduling order date(s): continued to following day (
                          Jury Trial set for 11/4/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/03/2009)
     11/03/2009   232     JOINDER in Springer's motion for reconsideration, dismissal, or mistrial (in
                          224 ) as to Oscar Amos Stilley (Stilley, Oscar) (Entered: 11/03/2009)
     11/04/2009           NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Proposed Jury Instructions); Correction: Edited docket text to
                          reflect the correct event (Notice) (Re: 228 Proposed Jury Instructions ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (tjc, Dpty Clk) (Entered:
                          11/04/2009)
     11/04/2009   233     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held, setting/resetting scheduling order date(s): (continued to following day) (
                          Jury Trial set for 11/5/2009 at 08:15 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/04/2009)
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                     Page 19 of
                                        46


     11/05/2009   234     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held continued to following Monday, setting/resetting scheduling order date(s):
                          ( Jury Trial set for 11/9/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/05/2009)
     11/05/2009   235     ORDER by Judge Stephen P Friot re: USM and witnesses as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 11/06/2009)
     11/08/2009   237     PROPOSED JURY INSTRUCTIONS as to Venue by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (Snoke, Kenneth) (Entered: 11/08/2009)
     11/08/2009   238     ADOPTION of Springer's requested jury instructions (of 236 ) as to Oscar
                          Amos Stilley (Stilley, Oscar) (Entered: 11/08/2009)
     11/09/2009   239     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held , continued to following day, setting/resetting scheduling order date(s): (
                          Jury Trial set for 11/10/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/09/2009)
     11/10/2009   240     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held, setting/resetting scheduling order date(s): continued to Thursday ( Jury
                          Trial set for 11/12/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/10/2009)
     11/12/2009   241     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held, setting/resetting scheduling order date(s): continued to following day (
                          Jury Trial set for 11/13/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/12/2009)
     11/13/2009   242     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held, setting/resetting scheduling order date(s): continued to following Monday
                          ( Jury Trial set for 11/16/2009 at 09:00 AM before Judge Stephen P Friot) as
                          to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/13/2009)
     11/16/2009   243     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          completed, striking/terminating deadline(s)/hearing(s) as to Lindsey Kent
                          Springer, Oscar Amos Stilley (Court Reporter: Tracy Washbourne) (With
                          attachments) (pll, Dpty Clk) (Entered: 11/17/2009)
     11/16/2009   244     JURY INSTRUCTIONS by Judge Stephen P Friot as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 11/17/2009)
     11/16/2009   245     JURY VERDICT as to Lindsey Kent Springer (1) Guilty on Count
                          1,2,3−4,5−6 and Oscar Amos Stilley (2) Guilty on Count 1,3−4 (pll, Dpty Clk)
                          (Entered: 11/17/2009)
     11/16/2009   246     SEALED EXHIBIT(S) to Order/Minutes (Re: 243 Minutes of Jury Trial
                          Completed, Striking/Terminating Deadline(s)/Hearing(s) ) (pll, Dpty Clk)
                          (Entered: 11/17/2009) Contains One or More Restricted PDFs
     11/17/2009   247
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                     Page 20 of
                                        46


                          ORDER by Judge Stephen P Friot setting supplemental conditions following
                          trial, ruling re: modification of conditions of pretrial release as to Lindsey
                          Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 11/17/2009)
     11/20/2009   251     MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) Extending time
                          to file for judgment of acquittal or new trial, by Oscar Amos Stilley (Stilley,
                          Oscar) (Entered: 11/20/2009)
     11/20/2009   252     RESPONSE in Opposition to Motion (Re: 232 JOINDER in Springer's motion
                          for reconsideration, dismissal, or mistrial (in 224 ), 224 MOTION to
                          Reconsider ) by USA as to Lindsey Kent Springer, Oscar Amos Stilley (With
                          attachments) (O'Reilly, Charles) (Entered: 11/20/2009)
     11/23/2009   253     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #251
                          Granted (Re: 251 MOTION to Accelerate/Extend/Reset
                          Hearing(s)/Deadline(s) Extending time to file for judgment of acquittal or new
                          trial, ) as to Oscar Amos Stilley (pll, Dpty Clk) (Entered: 11/23/2009)
     12/01/2009   254     MOTION To provide transcript at public expense by Oscar Amos Stilley
                          (Stilley, Oscar) (Entered: 12/01/2009)
     12/01/2009   255     BRIEF in Support of Motion (Re: 254 MOTION To provide transcript at
                          public expense ) by Oscar Amos Stilley (Stilley, Oscar) (Entered: 12/01/2009)
     12/07/2009   258     REPLY to Response to Motion (Re: 232 JOINDER in Springer's motion for
                          reconsideration, dismissal, or mistrial (in 224 ) ) by Oscar Amos Stilley
                          (Stilley, Oscar) Modified on 12/10/2009 to seal PDF; Document STRICKEN
                          per Order # 264 (tjc, Dpty Clk). (Entered: 12/08/2009) Contains One or More
                          Restricted PDFs
     12/08/2009   259     MOTION to Strike Document(s) (Re: 257 Reply to Response to Motion, 258
                          Reply to Response to Motion ) by USA as to Lindsey Kent Springer, Oscar
                          Amos Stilley (O'Reilly, Charles) (Entered: 12/08/2009)
     12/08/2009   261     MOTION for Judgment of Acquittal and, MOTION for New Trial by Oscar
                          Amos Stilley (With attachments) (Stilley, Oscar) Modified on 12/10/2009 to
                          seal PDF; Document STRICKEN per Order # 264 (tjc, Dpty Clk). (Entered:
                          12/08/2009) Contains One or More Restricted PDFs
     12/08/2009   263     BRIEF in Support of Motion (Re: 261 MOTION for Judgment of Acquittal
                          and MOTION for New Trial ) by Oscar Amos Stilley (Stilley, Oscar)
                          Modified on 12/10/2009 to seal PDF; Document STRICKEN per Order # 264
                          (tjc, Dpty Clk). (Entered: 12/08/2009) Contains One or More Restricted PDFs
     12/09/2009   264     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #259
                          Granted, striking/withdrawing document(s) (Re: 259 MOTION to Strike
                          Document(s), 261 MOTION for Judgment of Acquittal and MOTION for New
                          Trial, 257 Reply to Response to Motion, 258 Reply to Response to Motion,
                          260 MOTION for Judgment of Acquittal, 262 MOTION for New Trial )
                          (Documents Terminated: 257 Reply to Response to Motion, 261 MOTION for
                          Judgment of Acquittal and MOTION for New Trial, 258 Reply to Response to
                          Motion, 260 MOTION for Judgment of Acquittal ) as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 12/09/2009)
     12/14/2009   267     MOTION to Reconsider (Re: 264 Order,,, Ruling on Motion(s)/Document(s),
                          Ruling on Motion(s)/Document(s), Ruling on Motion(s)/Document(s),
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                   Page 21 of
                                        46


                          Striking/Withdrawing Document(s), Striking/Withdrawing Document(s),
                          Striking/Withdrawing Document(s),,, ) by Oscar Amos Stilley (Stilley, Oscar)
                          (Entered: 12/14/2009)
     12/14/2009   268     BRIEF in Support of Motion (Re: 267 MOTION to Reconsider ) by Oscar
                          Amos Stilley (Stilley, Oscar) (Entered: 12/14/2009)
     12/15/2009   269     RESPONSE in Opposition to Motion (Re: 267 MOTION to Reconsider ) by
                          USA as to Oscar Amos Stilley (O'Reilly, Charles) (Entered: 12/15/2009)
     01/12/2010   278     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #254
                          Denied (Re: 254 MOTION To provide transcript at public expense ) as to
                          Oscar Amos Stilley (pll, Dpty Clk) (Entered: 01/12/2010)
     01/22/2010   290     SCHEDULING ORDER by Judge Stephen P Friot, setting/resetting
                          deadline(s)/hearing(s): ( Sentencing set for 4/19/2010 at 10:00 AM before
                          Judge Stephen P Friot) as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) (Entered: 01/22/2010)
     01/25/2010   291     ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                          Sentencing set for 4/21/2010 at 10:00 AM before Judge Stephen P Friot) (Re:
                          290 Scheduling Order, Setting/Resetting Deadline(s)/Hearing(s) ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          01/25/2010)
     01/28/2010   293     OPINION AND ORDER by Judge Stephen P Friot, ruling on
                          motion(s)/document(s): #224,232,262,265,267,271,273,285 Denied (Re: 265
                          MOTION to Vacate/Set Aside Order dated December 9, 2009 MOTION
                          Reinstate Docket # 257 and # 260 as properly filed under Local Criminal
                          Rules 12.1 MOTION 10 days from date of order to refile docket # 257 and #
                          260 in accordance with Local Civil Rule 7.2 including extended page number
                          therein, 267 MOTION to Reconsider, 232 JOINDER in Springer's motion for
                          reconsideration, dismissal, or mistrial (in 224 ), 262 MOTION for New Trial,
                          224 MOTION to Reconsider, 273 MOTION to Strike Document(s), 271
                          MOTION Disqualify, Recuse, Removal and for Random Reassignment, 285
                          MOTION to Strike Document(s) 276 and 277 ) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (pll, Dpty Clk) (Entered: 01/28/2010)
     02/01/2010   294     JOINDER (in [262, 265, 271, 272, 273, 274, 280, 281, 282, 283, 284, 285,
                          286, and 288] Multiple motions filed on 12/28/09 mostly) as to Oscar Amos
                          Stilley (Stilley, Oscar) (Entered: 02/01/2010)
     02/01/2010   296     MOTION to Modify Conditions of Pretrial Release by Oscar Amos Stilley
                          (Stilley, Oscar) (Entered: 02/01/2010)
     02/01/2010   297     First MOTION to Strike Document(s) by Stephen P. Friot or Claire V. Eagan,
                          particularly (Re: 278 Order, Ruling on Motion(s)/Document(s), 290
                          Scheduling Order, Setting/Resetting Deadline(s)/Hearing(s), 291 Order,,
                          Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                          Deadline(s)/Hearing(s),, 293 Opinion and Order,,,, Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), 24 Order,,
                          Reassigning Case,, Changing Case Number, 264 Order,,, Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Striking/Withdrawing Document(s),
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                      Page 22 of
                                        46


                          Striking/Withdrawing Document(s), Striking/Withdrawing Document(s),,, 247
                          Order, Ruling Re: Modification of Conditions of Pretrial Release ) by Oscar
                          Amos Stilley (Stilley, Oscar) (Entered: 02/01/2010)
     02/02/2010   298     BRIEF in Support of Motion (Re: 297 First MOTION to Strike Document(s)
                          by Stephen P. Friot or Claire V. Eagan, particularlyFirst MOTION to Strike
                          Document(s) by Stephen P. Friot or Claire V. Eagan, particularlyFirst
                          MOTION to Strike Document(s) by Stephen P. Friot or Claire V. Eagan,
                          particularlyFirst MOTION to Strike Document(s) by Stephen P. Friot or
                          Claire V. Eagan, particularly, 296 MOTION to Modify Conditions of Pretrial
                          Release ) by Oscar Amos Stilley (Stilley, Oscar) (Entered: 02/02/2010)
     02/03/2010   299     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #296
                          denied (Re: 296 MOTION to Modify Conditions of Pretrial Release ) as to
                          Oscar Amos Stilley (sjm, Dpty Clk) Modified on 2/4/2010 to remove Lindsey
                          Kent Springer from text (lml, Dpty Clk). (Entered: 02/03/2010)
     02/03/2010   300     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #297
                          denied (Re: 297 First MOTION to Strike Document(s) by Stephen P. Friot or
                          Claire V. Eagan, particularlyFirst MOTION to Strike Document(s) by Stephen
                          P. Friot or Claire V. Eagan, particularlyFirst MOTION to Strike Document(s)
                          by Stephen P. Friot or Claire V. Eagan, particularlyFirst MOTION to Strike
                          Document(s) by Stephen P. Friot or Claire V. Eagan, particularly #294
                          granted) as to Oscar Amos Stilley; (sjm, Dpty Clk) Modified on 2/3/2010 to
                          correct entry ruling on #294 also(sjm, Dpty Clk). (Entered: 02/03/2010)
     02/03/2010   301     NOTICE of Docket Entry Modification; Error: omitted ruling on docket #294;
                          Correction: corrected entry to include ruling on docket #294 (Re: Ruling on
                          Joinder in Motion ) as to Oscar Amos Stilley (sjm, Dpty Clk) (Entered:
                          02/03/2010)
     02/11/2010   309     JOINDER (in [295, 306, 308] Motion to dismiss...., Motion for Stay..., Reply
                          filed on 2/1/10, 2/8/10, 2/10/10) as to Oscar Amos Stilley (Stilley, Oscar)
                          (Entered: 02/11/2010)
     02/12/2010   310     RESPONSE in Opposition to Motion (Re: 306 MOTION Stay all Orders by
                          Judge Friot pending determination by Surpeme Court in 09−8701, 309
                          JOINDER (in [295, 306, 308] Motion to dismiss...., Motion for Stay..., Reply
                          filed on 2/1/10, 2/8/10, 2/10/10) ) by USA as to Lindsey Kent Springer, Oscar
                          Amos Stilley (With attachments) (O'Reilly, Charles) (Entered: 02/12/2010)
     02/22/2010   312     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #280,
                          282, 284, 306 Denied, #309 Granted (Re: 282 MOTION to Dismiss Count(s)
                          Two, Three, Four, Five and Six for Lack of Article III Subject Matter
                          Jurisdiction, Article III Jurisdiction of the Facts and Article III Venue, 306
                          MOTION Stay all Orders by Judge Friot pending determination by Surpeme
                          Court in 09−8701, 280 MOTION to Dismiss Count(s) ONE for lack of Article
                          III Subject Matter Jurisdiction, Article III Jurisdiction of the Facts and Article
                          III Venue, 309 JOINDER (in [295, 306, 308] Motion to dismiss...., Motion for
                          Stay..., Reply filed on 2/1/10, 2/8/10, 2/10/10), 284 MOTION to Dismiss
                          Indictment/Information/Complaint for lack of Article III Standing of United
                          States of America, (2) lack of Article III Case or Controversy, (3) for violation
                          of Title 28, United States Code, Section 547, and accompanying brief in
                          MOTION to Dismiss Indictment/Information/Complaint for lack of Article III
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                    Page 23 of
                                        46


                          Standing of United States of America, (2) lack of Article III Case or
                          Controversy, (3) for violation of Title 28, United States Code, Section 547, and
                          accompanying brief in ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) (Entered: 02/22/2010)
     02/23/2010   313     ORDER by Judge Stephen P Friot re: consideration of non−standard
                          conditions of supervised release as to Lindsey Kent Springer, Oscar Amos
                          Stilley (pll, Dpty Clk) (Entered: 02/23/2010)
     02/25/2010   314     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #295
                          Denied (Re: 295 MOTION to Dismiss Count(s) One, Two, Three, Four, Five
                          and Six regarding regulations not in compliance with APA ) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 02/25/2010)
     03/16/2010   315     SEALED DOCUMENT (O'Reilly, Charles) (Entered: 03/16/2010) Contains
                          One or More Restricted PDFs
     03/25/2010   316     ORDER by Judge Stephen P Friot, ruling re: modification of conditions of
                          pretrial release as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty
                          Clk) Modified on 3/25/2010 to add PDF (pll, Dpty Clk). (Entered: 03/25/2010)
     03/25/2010   317     NOTICE of Docket Entry Modification; Error: Document not attached;
                          Correction: Attached document and included here (Re: 316 Order, Ruling Re:
                          Modification of Conditions of Pretrial Release ) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (pll, Dpty Clk) (Entered: 03/25/2010)
     03/30/2010   318     NOTICE Regarding Defendants' Reference to Variance in Objections to PSIR
                          by USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles)
                          (Entered: 03/30/2010)
     03/30/2010   319     EXHIBIT LIST and Witness List for Sentencing by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles) (Entered:
                          03/30/2010)
     03/30/2010   320     SEALED DOCUMENT (Stilley, Oscar) (Entered: 03/30/2010) Contains One
                          or More Restricted PDFs
     04/06/2010   326     MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) to continue
                          sentencing until proper notice has been given by Oscar Amos Stilley (Stilley,
                          Oscar) (Entered: 04/06/2010)
     04/07/2010   328     RESPONSE in Opposition to Motion (Re: 326 MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) to continue sentencing until
                          proper notice has been given ) by USA as to Oscar Amos Stilley (O'Reilly,
                          Charles) (Entered: 04/07/2010)
     04/07/2010   329     ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s):
                          (Government's response deadline to Stilley's Motion to Continue Sentencing
                          [Dkt. #326]) ( Miscellaneous Deadline set for 4/13/2010) as to Oscar Amos
                          Stilley (djh, Dpty Clk) (Entered: 04/07/2010)
     04/08/2010   330     REPLY to Response to Motion (Re: 326 MOTION to Accelerate/Extend/Reset
                          Hearing(s)/Deadline(s) to continue sentencing until proper notice has been
                          given ) by Oscar Amos Stilley (Stilley, Oscar) (Entered: 04/08/2010)
     04/09/2010   331
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                   Page 24 of
                                        46


                          ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #326
                          Denied (Re: 326 MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s)
                          to continue sentencing until proper notice has been given ) as to Oscar Amos
                          Stilley Modified on 4/23/2010 to show Oscar Amos Stilley as single filer(cds,
                          Dpty Clk). (Entered: 04/09/2010)
     04/16/2010   333     SEALED DOCUMENT (O'Reilly, Charles) (Entered: 04/16/2010) Contains
                          One or More Restricted PDFs
     04/23/2010   336     MINUTES of Proceedings − held before Judge Stephen P Friot: Sentencing
                          held on 4/23/2010, striking/terminating deadline(s)/hearing(s) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (Court Reporter: Tracy Washbourne) (With
                          attachments) (pll, Dpty Clk) (Entered: 04/28/2010)
     04/23/2010   348     NOTICE OF APPEAL to Circuit Court (Re: 338 Judgment and Commitment,
                          Entering Judgment ) as to Oscar Amos Stilley (s−srl, Dpty Clk) Modified on
                          4/30/2010 to correct file date (s−srl, Dpty Clk). (Entered: 04/30/2010)
     04/27/2010   334     ORDER by Judge Stephen P Friot entered without prejudice to the right of
                          standby counsel to apply for compensation for their services, terminating
                          attorney Charles Robert Burton, IV and Robert Scott Williams as to Lindsey
                          Kent Springer, Oscar Amos Stilley (djh, Dpty Clk) (Entered: 04/27/2010)
     04/27/2010   335     ***Remark: Order [Dkt. #334] mailed to each defendant c/o David L. Moss
                          Correctional Center, 300 N. Denver Ave., Tulsa, OK 74103 (Re: 334 Order,,
                          Adding/Terminating Attorney(s), Adding/Terminating Attorney(s) ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (djh, Dpty Clk) (Entered:
                          04/27/2010)
     04/28/2010   338     JUDGMENT AND COMMITMENT by Judge Stephen P Friot, entering
                          judgment as to Oscar Amos Stilley (pll, Dpty Clk) (Entered: 04/28/2010)
     04/30/2010   346     ORDER by Judge Stephen P Friot re: mailing addresses as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 04/30/2010)
     04/30/2010   349     PRELIMINARY RECORD Sent to Circuit Court (Re: 348 Notice of Appeal to
                          Circuit Court ) as to Oscar Amos Stilley (With attachments) (s−srl, Dpty Clk)
                          (Entered: 04/30/2010)
     04/30/2010           NOTICE of Docket Entry Modification; Error: incorrect file date; Correction:
                          corrected file date (Re: 348 Notice of Appeal to Circuit Court ) as to Oscar
                          Amos Stilley (s−srl, Dpty Clk) (Entered: 04/30/2010)
     04/30/2010   353     Amended PRELIMINARY RECORD Sent to Circuit Court (Re: 348 Notice of
                          Appeal to Circuit Court, 349 Preliminary Record Sent ) as to Oscar Amos
                          Stilley (With attachments) (s−srl, Dpty Clk) (Entered: 04/30/2010)
     04/30/2010   355     APPEAL NUMBER INFORMATION from Circuit Court assigning Case
                          Number 10−5057 (#348) (Re: 348 Notice of Appeal to Circuit Court ) as to
                          Oscar Amos Stilley (sam, Dpty Clk) (Entered: 05/03/2010)
     05/06/2010   362     ORDER from Circuit Court partially consolidating appeals (Re: 348 Notice of
                          Appeal to Circuit Court, 340 Notice of Appeal to Circuit Court ) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) (Entered: 05/06/2010)
     05/28/2010   366
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                       Page 25 of
                                        46


                          MOTION to Unseal Document(s) (Re: 203 Sealed Order, 186 Sealed Order,
                          181 SEALED MOTION, 182 Sealed Document, 202 SEALED MOTION ) by
                          USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles)
                          (Entered: 05/28/2010)
     06/03/2010   370     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #366
                          Granted, unsealing document(s) (Re: 366 MOTION to Unseal Document(s),
                          182 Sealed Document, 186 Sealed Order, 203 Sealed Order, 181 SEALED
                          MOTION, 202 SEALED MOTION ) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (pll, Dpty Clk) (Entered: 06/03/2010)
     06/08/2010   373     MOTION to Withdraw Attorney(s) Kenneth P. Snoke by USA as to Lindsey
                          Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 06/08/2010)
     06/08/2010   374     ORDER by Judge Stephen P Friot, terminating attorney Kenneth P Snoke,
                          ruling on motion(s)/document(s): #373 Granted (Re: 373 MOTION to
                          Withdraw Attorney(s) ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) (Entered: 06/08/2010)
     06/10/2010   379     MINUTE ORDER by Court Clerk, directing Jerold W. Barringer to file by
                          July 1, 2010 a Motion for Admission Pro Hac Vice per Local Civil Rule 83.2.
                          Additionally, if you intend to practice in this district in the future and want to
                          become a member of this district, please submit an application for attorney
                          admission. as to Lindsey Kent Springer, Oscar Amos Stilley (lal, Dpty Clk)
                          (Entered: 06/10/2010)
     06/11/2010           MAIL to Oscar Amos Stilley Returned − marked return to sender − not in
                          custody. Remailed on 6/14/10 to FCI Forrest Low, P O BOX 9000, FORREST
                          CITY, AR 72336 − new address obtained from BOP website. (Re: 370 Order,,
                          Ruling on Motion(s)/Document(s), Ruling on Motion(s)/Document(s),
                          Unsealing Document(s), Unsealing Document(s) ) as to Oscar Amos Stilley
                          (s−srl, Dpty Clk) (Entered: 06/14/2010)
     06/16/2010   380     Supplemental CERTIFICATE of Service Due to Returned Mail (Re: 375
                          Response in Opposition to Motion, 373 MOTION to Withdraw Attorney(s),
                          366 MOTION to Unseal Document(s) ) by USA as to Lindsey Kent Springer,
                          Oscar Amos Stilley (O'Reilly, Charles) (Entered: 06/16/2010)
     06/16/2010           MAIL to Oscar Amos Stilley, David L. Moss Criminal Justice Center, 300 N
                          Denver, Tulsa, OK 74103 Returned − marked Return to Sender − not in
                          custody. Remailed on 06/17/10 to FCI Forrest City Low, PO Box 9000,
                          Forrest City, AR 72336 − New address obtained from BOP Website. (Re: 376
                          Order, Ruling on Motion(s)/Document(s), 377 Order,, Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), 374 Order,
                          Adding/Terminating Attorney(s), Ruling on Motion(s)/Document(s) ) as to
                          Oscar Amos Stilley (sdc, Dpty Clk) Modified on 6/18/2010 to remove
                          additional Defendant (sdc, Dpty Clk). (Entered: 06/17/2010)
     07/12/2010   382     TRANSCRIPT of Proceedings (Unredacted) of Motion Hearing held on
                          04/22/2009 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                          (Pages: 132). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                    Page 26 of
                                        46


                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 340 Notice of Appeal 43 Minutes of Motion
                          Hearing, Minutes of Scheduling Conference, Ruling on
                          Motion(s)/Document(s), Taking Motion(s) Under Advisement,
                          Setting/Resetting Deadline(s)/Hearing(s)) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (sam, Dpty Clk). Modified on 7/13/2010 to create link to 340
                          (sac, Dpty Clk). Modified on 10/14/2010 to remove transcript access
                          restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   383     TRANSCRIPT of Proceedings (Unredacted) of Motion Hearing held on
                          07/02/2009 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                          (Pages: 159). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 100
                          Minutes of Motion Hearing, Ruling on Motion(s)/Document(s),
                          Striking/Terminating Deadline(s)/Hearing(s)) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove
                          transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   384     TRANSCRIPT of Proceedings (Unredacted) of Pretrial Hearing held on
                          10/21/2009 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                          (Pages: 139). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 207
                          Minutes of Motion Hearing, Minutes of Pretrial Conference, Ruling on
                          Motion(s)/Document(s), Striking/Terminating Deadline(s)/Hearing(s)) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on
                          10/15/2010 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          07/12/2010)
     07/12/2010   385     TRANSCRIPT of Proceedings (Unredacted) of Voir Dire and Jury Trial held
                          on 10/26/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                          Washbourne)(Pages: 1 to 242)(Re: 217 Minutes of Jury Trial Begun, 340
                          Notice of Appeal to Circuit Court, 218 Minutes of Jury Trial Held,
                          Setting/Resetting Scheduling Order Date(s), 216 Minutes of Voir Dire/Jury
                          Selection Held) as to Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty
                          Clk)(See Court Clerk to view this transcript) Modified on 7/13/2010 to include
                          that Voir Dire is included in this transcript (sac, Dpty Clk). (Entered:
                          07/12/2010) Contains One or More Restricted PDFs
     07/12/2010   386     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 10/27/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages: 243
                          to 515). NOTICE RE REDACTION OF TRANSCRIPTS: A party must file a
                          Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                    Page 27 of
                                        46


                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 221
                          Minutes of Jury Trial Held, Ruling on Motion(s)/Document(s)) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010
                          to remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   387     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 10/28/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages: 516
                          to 640). NOTICE RE REDACTION OF TRANSCRIPTS: A party must file a
                          Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 222 Minutes of Jury Trial Held, Setting/Resetting
                          Deadline(s)/Hearing(s), 340 Notice of Appeal to Circuit Court) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010
                          to remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   388     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 10/29/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages: 641
                          to 880). NOTICE RE REDACTION OF TRANSCRIPTS: A party must file a
                          Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 223
                          Minutes of Jury Trial Held, Ruling on Motion(s)/Document(s),
                          Setting/Resetting Scheduling Order Date(s)) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove
                          transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   389     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 10/30/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages: 881
                          to 1130). NOTICE RE REDACTION OF TRANSCRIPTS: A party must file a
                          Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 229 Minutes of Jury Trial Held, Setting/Resetting
                          Scheduling Order Date(s) 340 Notice of Appeal to Circuit Court) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010
                          to remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   390     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/02/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          1131 to 1327). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                    Page 28 of
                                        46


                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 230 Minutes of Jury Trial Held, Setting/Resetting
                          Scheduling Order Date(s), 340 Notice of Appeal to Circuit Court ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on
                          10/15/2010 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          07/12/2010)
     07/12/2010   391     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/03/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          1328 to 1608). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 231
                          Minutes of Jury Trial Held, Setting/Resetting Scheduling Order Date(s)) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on
                          10/15/2010 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          07/12/2010)
     07/12/2010   392     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/04/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          1609 to 1934). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 233 Minutes of Jury Trial Held, Setting/Resetting
                          Scheduling Order Date(s), 340 Notice of Appeal to Circuit Court) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on
                          10/15/2010 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          07/12/2010)
     07/12/2010   393     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/05/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          1935 to 2202). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 234
                          Minutes of Jury Trial Held, Setting/Resetting Scheduling Order Date(s)) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on
                          10/15/2010 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          07/12/2010)
     07/12/2010   394     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/09/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                    Page 29 of
                                        46


                          2203 to 2454). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 239 Minutes of Jury Trial Held, Setting/Resetting
                          Scheduling Order Date(s), 340 Notice of Appeal to Circuit Court) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on
                          10/15/2010 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          07/12/2010)
     07/12/2010   395     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/10/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          2455 to 2669). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 240 Minutes of Jury Trial Held, Setting/Resetting
                          Scheduling Order Date(s), 340 Notice of Appeal to Circuit Court) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on
                          10/15/2010 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          07/12/2010)
     07/12/2010   396     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/12/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          2670 to 2949). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 241 Minutes of Jury Trial Held, Setting/Resetting
                          Scheduling Order Date(s), 340 Notice of Appeal to Circuit Court) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on
                          10/15/2010 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          07/12/2010)
     07/12/2010   397     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/13/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          2950 to 3056). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 242
                          Minutes of Jury Trial Held, Setting/Resetting Scheduling Order Date(s)) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on
                          10/15/2010 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          07/12/2010)
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                    Page 30 of
                                        46


     07/12/2010   398     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/16/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          3057 to 3090). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 243
                          Minutes of Jury Trial Completed, Striking/Terminating
                          Deadline(s)/Hearing(s)) as to Lindsey Kent Springer, Oscar Amos Stilley
                          (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript access
                          restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   399     TRANSCRIPT of Proceedings (Unredacted) of Sentencing held on 04/21/2010
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages: 1
                          to 210). NOTICE RE REDACTION OF TRANSCRIPTS: A party must file a
                          Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 336 Minutes of Sentencing, Striking/Terminating
                          Deadline(s)/Hearing(s), 340 Notice of Appeal to Circuit Court) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010
                          to remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   400     TRANSCRIPT of Proceedings (Unredacted) of Sentencing held on 04/22/2010
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages: 211
                          to 390). NOTICE RE REDACTION OF TRANSCRIPTS: A party must file a
                          Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 336 Minutes of Sentencing, Striking/Terminating
                          Deadline(s)/Hearing(s), 340 Notice of Appeal to Circuit Court) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010
                          to remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   401     TRANSCRIPT of Proceedings (Unredacted) of Sentencing held on 04/23/2010
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages: 391
                          to 469). NOTICE RE REDACTION OF TRANSCRIPTS: A party must file a
                          Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 336 Minutes of Sentencing, Striking/Terminating
                          Deadline(s)/Hearing(s), 340 Notice of Appeal to Circuit Court) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010
                          to remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                     Page 31 of
                                        46


     07/15/2010           MAIL to Oscar Amos Stilley, David L. Moss Criminal Justic Center, 300 N
                          Denver, Tulsa OK 74103 Returned − marked return to sender − not in custody.
                          Remailed on 7/15/10 − FCI Forrest City Low, PO Box 9000, Forrest City, AR
                          72336. (Re: 379 Order, Directing Attorney to File PHV Motion,, ) as to Oscar
                          Amos Stilley (sdc, Dpty Clk) Modified on 7/16/2010 ro remove reference to
                          Lindsey Springer (sdc, Dpty Clk). (Entered: 07/15/2010)
     07/26/2010   412     RECORD on Appeal Sent to Circuit Court (Record includes: 4 volumes) (Re:
                          348 Notice of Appeal to Circuit Court, 340 Notice of Appeal to Circuit Court )
                          as to Lindsey Kent Springer, Oscar Amos Stilley (With attachments) (s−srt,
                          Dpty Clk) (Entered: 07/26/2010)
     08/17/2010   418     ORDER by Judge Stephen P Friot titled: Memorandum of approval, with
                          modification, of claim for professional services as to Oscar Amos Stilley (pll,
                          Dpty Clk) (Entered: 08/17/2010)
     09/09/2010   421     ATTORNEY APPEARANCE by Jeffrey Andrew Gallant on behalf of USA
                          (Gallant, Jeffrey) (Entered: 09/09/2010)
     09/13/2010   422     TRANSCRIPT of Proceedings (Unredacted) of Miscellaneous Hearing held on
                          03/30/2009 before Magistrate Judge Paul J Cleary (Court Reporter: Tracy
                          Washbourne) (Pages: 1−36). NOTICE RE REDACTION OF
                          TRANSCRIPTS: A party must file a Transcript Redaction Request within 21
                          calendar days. If a party fails to request redaction, this unredacted transcript
                          may be made electronically available to the public without redaction after 90
                          calendar days. Any party needing a copy of the transcript to review for
                          redaction purposes may view the transcript at the court public terminal at no
                          charge or may purchase a copy from the court reporter. (Re: 23 Minutes of
                          Miscellaneous Hearing, Ruling on Motion(s)/Document(s),
                          Striking/Terminating Deadline(s)/Hearing(s)) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (sam, Dpty Clk) Modified on 12/20/2010 to remove
                          transcript access restriction (a−hc, Dpty Clk). (Entered: 09/13/2010)
     02/24/2011   443     MOTION for Order Prohibiting Government from Interference with Stilley's
                          Receipt and Use of Computers, Peripherals, Internet Access, Tax Addresses,
                          Forms and Other Items Useful for Peacefully Petitioning for the Redress of
                          Grievances by Oscar Amos Stilley (s−srl, Dpty Clk) (Entered: 02/24/2011)
     03/14/2011   444     RESPONSE in Opposition to Motion (Re: 443 MOTION for Order Prohibiting
                          Government from Interference with Stilley's Receipt and Use of Computers,
                          Peripherals, Internet Access, Tax Addresses, Forms and Other Items Useful
                          for Peacefully Petitioning for the Redress of Grievances ) by USA as to Oscar
                          Amos Stilley (O'Reilly, Charles) (Entered: 03/14/2011)
     03/29/2011   450     MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) Extension of
                          Time to Reply to Response (Re: 444 Response in Opposition to Motion, 443
                          MOTION for Order Prohibiting Government from Interference with Stilley's
                          Receipt and Use of Computers, Peripherals, Internet Access, Tax Addresses,
                          Forms and Other Items Useful for Peacefully Petitioning for the Redress of
                          Grievances ) by Oscar Amos Stilley (sdc, Dpty Clk) (Entered: 03/29/2011)
     03/30/2011   451     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #450
                          Granted (Re: 450 MOTION to Accelerate/Extend/Reset
                          Hearing(s)/Deadline(s) Extension of Time to Reply to Response MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) Extension of Time to Reply to
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                    Page 32 of
                                        46


                          Response, 443 MOTION for Order Prohibiting Government from Interference
                          with Stilley's Receipt and Use of Computers, Peripherals, Internet Access, Tax
                          Addresses, Forms and Other Items Useful for Peacefully Petitioning for the
                          Redress of Grievances ) as to Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          03/30/2011)
     04/15/2011   453     ***Remark: received copy of Docket 443 that was mailed to 10th Circuit and
                          forwarded to USDC WD/OK as to Oscar Amos Stilley (sdc, Dpty Clk).
                          (Entered: 04/18/2011)
     04/18/2011   454     REPLY to Response to Motion (Re: 443 MOTION for Order Prohibiting
                          Government from Interference with Stilley's Receipt and Use of Computers,
                          Peripherals, Internet Access, Tax Addresses, Forms and Other Items Useful
                          for Peacefully Petitioning for the Redress of Grievances ) by Oscar Amos
                          Stilley (s−srl, Dpty Clk) (Entered: 04/18/2011)
     04/20/2011   455     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #443
                          Denied (Re: 443 MOTION for Order Prohibiting Government from
                          Interference with Stilley's Receipt and Use of Computers, Peripherals, Internet
                          Access, Tax Addresses, Forms and Other Items Useful for Peacefully
                          Petitioning for the Redress of Grievances ) as to Oscar Amos Stilley (pll, Dpty
                          Clk) (Entered: 04/20/2011)
     10/26/2011   460     DECISION from Circuit Court affirming the Decision of the District Court
                          (awaiting mandate) (Re: 348 Notice of Appeal to Circuit Court, 428 Notice of
                          Appeal to Circuit Court, 447 Notice of Appeal to Circuit Court, 340 Notice of
                          Appeal to Circuit Court ) as to Lindsey Kent Springer, Oscar Amos Stilley
                          (sdc, Dpty Clk) (Entered: 10/26/2011)
     12/20/2011   463     MANDATE from Circuit Court (Re: 348 Notice of Appeal to Circuit Court,
                          460 Decision from Circuit Court, ) as to Oscar Amos Stilley (sdc, Dpty Clk)
                          (Entered: 12/20/2011)
     05/22/2012   465     MOTION for Release of Oscar Amos Stilley by Martha Durossette as to Oscar
                          Amos Stilley (sdc, Dpty Clk) Modified on 5/25/2012 − STRICKEN per 466
                          (tjc, Dpty Clk). (Entered: 05/23/2012)
     05/24/2012   466     ORDER by Judge Stephen P Friot, striking/withdrawing document(s) (Re: 465
                          MOTION for Release of Oscar Amos Stilley ) (Documents Terminated: 465
                          MOTION for Release of Oscar Amos Stilley ) as to Oscar Amos Stilley (cds,
                          Dpty Clk) (Entered: 05/24/2012)
     05/29/2012   467     MAIL to Martha Durossette Returned − address was changed to address
                          unknown. (Re: 466 Order, Striking/Withdrawing Document(s) ) as to Oscar
                          Amos Stilley (s−srt, Dpty Clk) (Entered: 05/31/2012)
     06/01/2012           MAIL Resent to Martha Durossette at 506 S Caddo, Muldrow, OK 74948 (Re:
                          466 Order, Striking/Withdrawing Document(s) ) as to Oscar Amos Stilley
                          (s−srt, Dpty Clk) (Entered: 06/01/2012)
     05/03/2016   617     MOTION regarding visitation rights of Oscar Stilley by Martha Durossette as
                          to Oscar Amos Stilley (jln, Dpty Clk) Modified on 5/6/2016− STRICKEN
                          per 618 (sac, Dpty Clk). (Entered: 05/04/2016)
     05/05/2016   618     ORDER by Judge Stephen P Friot , striking/withdrawing document(s) (Re:
                          617 MOTION regarding visitation rights of Oscar Stilley ) (Documents
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                   Page 33 of
                                        46


                          Terminated: 617 MOTION regarding visitation rights of Oscar Stilley ) as to
                          Oscar Amos Stilley (kjp, Dpty Clk) (Entered: 05/05/2016)
     05/06/2016           ***Remark: Copy of Order #618 mailed to Oscar Amos Stilley (Re: 618
                          Order,, Striking/Withdrawing Document(s), ) as to Oscar Amos Stilley (jln,
                          Dpty Clk) (Entered: 05/06/2016)
     05/16/2016   619     MAIL to Oscar Amos Stilley Returned − remailed on 5/17/16 to FCI Oakdale
                          I, PO BOX 5000, OAKDALE, LA 71463 − new address obtained from BOP
                          website. (Re: 618 Order, Striking/Withdrawing Document(s),, ) as to Oscar
                          Amos Stilley (jln, Dpty Clk) (Entered: 05/17/2016)
     12/11/2017   624     MAIL to Oscar Amos Stilley Returned − remailed on 12/11/17 to FCI
                          Beaumont Low, PO BOX 26020, BEAUMONT, TX 77720 − new address
                          obtained from BOP website. (Re: #622 and #623) as to Oscar Amos Stilley (2)
                          (jln, Dpty Clk) (Entered: 12/11/2017)
     01/29/2018   631     MOTION for Hearing by Martha Durossette as to Oscar Amos Stilley (2) (sc,
                          Dpty Clk) Modified on 2/1/2018− STRICKEN per 633 (srt, Dpty Clk).
                          (Entered: 01/29/2018)
     01/31/2018   633     ORDER by Judge Stephen P Friot , striking/withdrawing document(s) (Re:
                          631 MOTION for Hearing ) (Documents Terminated: 631 MOTION for
                          Hearing ) as to Oscar Amos Stilley (2) (kjp, Dpty Clk) (Entered: 01/31/2018)
     07/12/2018   651     MAIL to Oscar Amos Stilley Returned − remailed on 1/16/18 − FCI Yazoo
                          City Low, PO BOX 5000, YAZOO CITY, MS 39194 − new address obtained
                          from BOP website. (Re: #645 and #646) as to Oscar Amos Stilley (2) (jln,
                          Dpty Clk) (Entered: 07/16/2018)
     07/23/2018   652     MAIL to Oscar Amos Stilley Returned − remailed on 7/23/2018 to FCI Yazoo
                          City Low, PO BOX 5000, YAZOO CITY, MS 39194 − new address obtained
                          form previous entry. (Re: #648) as to Oscar Amos Stilley (2) (jln, Dpty Clk)
                          (Entered: 07/23/2018)
     05/11/2021   693     NOTICE of Change of Address as to Oscar Amos Stilley (Stilley, Oscar)
                          (Entered: 05/11/2021)
     05/12/2021   694     MOTION for Reduction of Sentence Pursuant to 18 USC 3582(c) by Oscar
                          Amos Stilley (With attachments) (Stilley, Oscar) (Entered: 05/12/2021)
     05/12/2021   695     BRIEF in Support of Motion (Re: 694 MOTION for Reduction of Sentence
                          Pursuant to 18 USC 3582(c) ) by Oscar Amos Stilley (Stilley, Oscar)
                          (Entered: 05/12/2021)
     05/12/2021   696     ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s): (
                          Responses due by 7/16/2021) (Re: 694 MOTION for Reduction of Sentence
                          Pursuant to 18 USC 3582(c) ) as to Oscar Amos Stilley (kjp, Dpty Clk)
                          (Entered: 05/12/2021)
     07/07/2021   698     RESPONSE in Opposition to Motion (Re: 694 MOTION for Reduction of
                          Sentence Pursuant to 18 USC 3582(c) ) by USA as to Oscar Amos Stilley
                          (O'Reilly, Charles) (Entered: 07/07/2021)
     07/21/2021   699     REPLY to Response to Motion (Re: 694 MOTION for Reduction of Sentence
                          Pursuant to 18 USC 3582(c) ) by Oscar Amos Stilley (Stilley, Oscar)
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                     Page 34 of
                                        46


                          (Entered: 07/21/2021)
     07/26/2021   700     ORDER by Judge Stephen P Friot denying defendants Motion for Reduction of
                          Sentence (Doc. 694), ruling on motion(s)/document(s): #694 denied (Re: 694
                          MOTION for Reduction of Sentence Pursuant to 18 USC 3582(c) ) as to
                          Oscar Amos Stilley (alg, Dpty Clk) (Entered: 07/26/2021)
     09/01/2021   701     MOTION to Vacate/Set Aside/Correct Sentence under 28 U.S.C. 2255 by
                          Oscar Amos Stilley (Stilley, Oscar)
                          Civil case 4:21−cv−00361 opened. (Entered: 09/01/2021)
     09/02/2021   702     MOTION Disclose co−defendant's address, show authority for Friot to
                          preside, 30 day stay of proceedings by Oscar Amos Stilley (Stilley, Oscar)
                          (Entered: 09/02/2021)
     09/02/2021   703     MINUTE ORDER by Judge Stephen P Friot (Re: 701 MOTION to Vacate/Set
                          Aside/Correct Sentence under 28 U.S.C. 2255 ) as to Oscar Amos Stilley (sc,
                          Dpty Clk) (Entered: 09/02/2021)
     09/02/2021   704     ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s): (
                          Responses due by 9/30/2021) (Re: 702 MOTION Disclose co−defendant's
                          address, show authority for Friot to preside, 30 day stay of proceedings , 701
                          MOTION to Vacate/Set Aside/Correct Sentence under 28 U.S.C. 2255 ) as to
                          Oscar Amos Stilley (alg, Dpty Clk) (Entered: 09/02/2021)
     09/07/2021   705     MOTION to Dismiss Defendants Verified Motion under 28 U.S.C. § 2255 as
                          Untimely and in Violation of Local Rules (Re: 701 MOTION to Vacate/Set
                          Aside/Correct Sentence under 28 U.S.C. 2255 ) by USA as to Oscar Amos
                          Stilley (O'Reilly, Charles) Modified on 9/8/2021 to create link to doc 701 (sc,
                          Dpty Clk). (Entered: 09/07/2021)
     09/07/2021   706     ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s): (
                          Responses due by 10/5/2021) (Re: 705 MOTION to Dismiss Defendants
                          Verified Motion under 28 U.S.C. § 2255 as Untimely and in Violation of
                          Local Rules ) as to Oscar Amos Stilley (alg, Dpty Clk) (Entered: 09/07/2021)
     09/08/2021   707     MOTION to Dismiss Defendant Oscar Stilley's Motion to Stay Proceedings
                          and for Determination of Who is the Lawfully Authorized Judge on this Case
                          (Re: 702 MOTION Disclose co−defendant's address, show authority for Friot
                          to preside, 30 day stay of proceedings ) by USA as to Oscar Amos Stilley
                          (O'Reilly, Charles) (Entered: 09/08/2021)
     09/14/2021   708     MOTION to Clarify Whether or Not Response to Motion is Required Absent
                          Scheduling Order, MOTION for Extension of Time to Respond to Motion
                          (Re: 707 MOTION to Dismiss Defendant Oscar Stilley's Motion to Stay
                          Proceedings and for Determination of Who is the Lawfully Authorized Judge
                          on this Case ) by Oscar Amos Stilley (Stilley, Oscar) (Entered: 09/14/2021)
     09/16/2021   709     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): Motion
                          #708 Granted, setting/resetting deadline(s)/hearing(s): ( Responses due by
                          10/14/2021) (Re: 708 MOTION to Clarify Whether or Not Response to Motion
                          is Required Absent Scheduling Order MOTION for Extension of Time to
                          Respond to Motion , 707 MOTION to Dismiss Defendant Oscar Stilley's
                          Motion to Stay Proceedings and for Determination of Who is the Lawfully
                          Authorized Judge on this Case ) as to Oscar Amos Stilley (kjp, Dpty Clk)
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                    Page 35 of
                                        46


                          (Entered: 09/16/2021)
     10/04/2021   710     MOTION for Extension of Time to Respond to Motion up through and
                          including 11−30−2021 (Re: 707 MOTION to Dismiss Defendant Oscar
                          Stilley's Motion to Stay Proceedings and for Determination of Who is the
                          Lawfully Authorized Judge on this Case , 705 MOTION to Dismiss
                          Defendants Verified Motion under 28 U.S.C. § 2255 as Untimely and in
                          Violation of Local Rules ) by Oscar Amos Stilley (Stilley, Oscar) (Entered:
                          10/04/2021)
     10/05/2021   711     RESPONSE in Opposition to Motion (Re: 710 MOTION for Extension of
                          Time to Respond to Motion up through and including 11−30−2021 ) by USA
                          as to Oscar Amos Stilley (With attachments) (O'Reilly, Charles) (Entered:
                          10/05/2021)
     10/05/2021   712     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #710
                          granted in part and denied in part, setting/resetting deadline(s)/hearing(s): (
                          Responses due by 10/20/2021) (Re: 710 MOTION for Extension of Time to
                          Respond to Motion up through and including 11−30−2021, 705 MOTION to
                          Dismiss Defendants Verified Motion under 28 U.S.C. § 2255 as Untimely and
                          in Violation of Local Rules ) as to Oscar Amos Stilley (alg, Dpty Clk)
                          (Entered: 10/05/2021)
     10/20/2021   713     RESPONSE in Opposition to Motion (Re: 705 MOTION to Dismiss
                          Defendants Verified Motion under 28 U.S.C. § 2255 as Untimely and in
                          Violation of Local Rules ) by Oscar Amos Stilley (Stilley, Oscar) (Entered:
                          10/20/2021)
     10/20/2021   714     RESPONSE in Opposition to Motion (Re: 707 MOTION to Dismiss
                          Defendant Oscar Stilley's Motion to Stay Proceedings and for Determination
                          of Who is the Lawfully Authorized Judge on this Case ) by Oscar Amos
                          Stilley (Stilley, Oscar) (Entered: 10/20/2021)
     10/25/2021   715     MOTION for Writ of Garnishment as to Cornerstone Structural Engineering,
                          Inc. by USA as to Oscar Amos Stilley [Note: Attorney Vani Singhal added to
                          party USA(pty:pla).] (Singhal, Vani) (Entered: 10/25/2021)
     10/25/2021           ***Motion(s) Referred to Magistrate Judge Christine D Little (Re: 715
                          MOTION for Writ of Garnishment as to Cornerstone Structural Engineering,
                          Inc. ) as to Oscar Amos Stilley (sc, Dpty Clk) (Entered: 10/26/2021)
     10/26/2021   716     MINUTE ORDER by Magistrate Judge Christine D Little , ruling on
                          motion(s)/document(s): #715 granted (Re: 715 MOTION for Writ of
                          Garnishment as to Cornerstone Structural Engineering, Inc. ) as to Oscar
                          Amos Stilley (This entry is the Official Order of the Court. No document is
                          attached.) (tjc, Dpty Clk) (Entered: 10/26/2021)
     10/26/2021   717     WRIT of Garnishment Issued by Magistrate Judge Christine D Little as to
                          Cornerstone Structural Engineering, Inc. as to Oscar Amos Stilley (tjc, Dpty
                          Clk) (Entered: 10/26/2021)
     11/04/2021   718     GARNISHEE'S ANSWER by Cornerstone Structural Engineering, Inc. as to
                          Oscar Amos Stilley (lmt, Dpty Clk) (Entered: 11/04/2021)
     11/04/2021   719     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #701
                          dismissed, #702 dismissed, #705 granted, #707 granted, denying certificate of
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                    Page 36 of
                                        46


                          appealability (Re: 707 MOTION to Dismiss Defendant Oscar Stilley's Motion
                          to Stay Proceedings and for Determination of Who is the Lawfully Authorized
                          Judge on this Case , 705 MOTION to Dismiss Defendants Verified Motion
                          under 28 U.S.C. § 2255 as Untimely and in Violation of Local Rules , 701
                          MOTION to Vacate/Set Aside/Correct Sentence under 28 U.S.C. 2255 , 702
                          MOTION Disclose co−defendant's address, show authority for Friot to
                          preside, 30 day stay of proceedings ) as to Oscar Amos Stilley (alg, Dpty Clk)
                          (Entered: 11/04/2021)
     11/04/2021   720     JUDGMENT by Judge Stephen P Friot dismissing defendant Oscar Amos
                          Stilley's Motion to Vacate Sentence, entering judgment as to Oscar Amos
                          Stilley (alg, Dpty Clk) (Entered: 11/04/2021)
     11/14/2021   721     MOTION Transfer garnishment to district of residence by Oscar Amos Stilley
                          (Stilley, Oscar) (Entered: 11/14/2021)
     11/24/2021   722     MOTION to Quash Garnishment by Oscar Amos Stilley (Stilley, Oscar)
                          (Entered: 11/24/2021)
     11/24/2021   723     BRIEF in Support of Motion (Re: 722 MOTION to Quash Garnishment ) by
                          Oscar Amos Stilley (Stilley, Oscar) (Entered: 11/24/2021)
     11/24/2021           ***Motion(s) Referred to Magistrate Judge Christine D Little (Re: 722
                          MOTION to Quash Garnishment ) as to Oscar Amos Stilley (sc, Dpty Clk)
                          (Entered: 12/01/2021)
     12/08/2021   724     ORDER by Judge Stephen P Friot granting defendant's Motion for Transfer of
                          Garnishment Proceedings (Doc. 721). The Clerk of the Court is directed to
                          effect the transfer of garnishment proceedings to the Western District of
                          Arkansas, ruling on motion(s)/document(s): #721 granted, directing court clerk
                          to take action (Re: 721 MOTION Transfer garnishment to district of residence
                          ) as to Oscar Amos Stilley (alg, Dpty Clk) (Entered: 12/08/2021)
     12/09/2021           ***Remark: garnishment proceedings transferred to USDC WD/AR and
                          opened as case #2:21−mc−00107−PKH (Re: 724 Order, Ruling on
                          Motion(s)/Document(s), Directing Court Clerk to Take Action,,, ) as to Oscar
                          Amos Stilley (srt, Dpty Clk) (Entered: 12/09/2021)
     01/01/2022   725     NOTICE OF APPEAL to Circuit Court (Re: 720 Judgment, Entering
                          Judgment, 719 Order, Ruling on Motion(s)/Document(s), Denying Certificate
                          of Appealability as to Oscar Amos Stilley (Stilley, Oscar) Modified on
                          1/3/2022 to remove links to doc #'s 278, 136, 43, 455, 111, 100, 293, 338, 24,
                          264, 207 and 331 (sc, Dpty Clk). (Entered: 01/01/2022)
     01/03/2022           NOTICE of Docket Entry Modification; Error: Linked to the incorrect
                          documents; Correction: Removed link to Doc #'s 278, 136, 43, 455, 111, 100,
                          293, 338, 24, 264, 207 and 331 (Re: 725 Notice of Appeal to Circuit Court, )
                          as to Oscar Amos Stilley (sc, Dpty Clk) (Entered: 01/03/2022)
     01/03/2022   726     PRELIMINARY RECORD Sent to Circuit Court (Re: 725 Notice of Appeal to
                          Circuit Court, ) as to Oscar Amos Stilley (With attachments) (sc, Dpty Clk)
                          (Entered: 01/03/2022)
     01/03/2022   727     APPEAL NUMBER INFORMATION from Circuit Court assigning Case
                          Number 22−5000 (#725) (Re: 725 Notice of Appeal to Circuit Court, ) as to
                          Oscar Amos Stilley (sc, Dpty Clk) (Entered: 01/04/2022)
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                     Page 37 of
                                        46


     01/05/2022   728     APPEAL FEES Paid in Full (Re: 725 Notice of Appeal to Circuit Court, ) as to
                          Oscar Amos Stilley (lmt, Dpty Clk) (Entered: 01/05/2022)
     01/05/2022           ***Remark: copy of receipt emailed to 10th Circuit (Re: 728 Appeal Fee Paid
                          in Full ) as to Oscar Amos Stilley (lmt, Dpty Clk) (Entered: 01/06/2022)
     01/21/2022   729     CERTIFICATE of Service (Re: 715 MOTION for Writ of Garnishment as to
                          Cornerstone Structural Engineering, Inc. , 717 Writ of Garnishment Issued )
                          by USA as to Oscar Amos Stilley (Singhal, Vani) (Entered: 01/21/2022)
     02/02/2022   730     MOTION for Disbursement by USA as to Oscar Amos Stilley (Singhal, Vani)
                          (Entered: 02/02/2022)
     02/10/2022   731     ORDER by Magistrate Judge Susan E Huntsman , ruling on
                          motion(s)/document(s): #730 granted (Re: 730 MOTION for Disbursement )
                          as to Oscar Amos Stilley (dlg, Dpty Clk) (Entered: 02/10/2022)
     06/06/2022   732     DECISION from Circuit Court dismissing the Appeal (Re: 725 Notice of
                          Appeal to Circuit Court, ) as to Oscar Amos Stilley (lmt, Dpty Clk) (Entered:
                          06/06/2022)
     08/24/2022   733     TRANSFER by Judge Stephen P Friot of Jurisdiction of Probationer or
                          Supervised Releasee to District of OKWD as to Oscar Amos Stilley (blc, Dpty
                          Clk) Modified on 8/24/2022 to edit docket text to remove additional Order
                          event language (blc, Dpty Clk). (Entered: 08/24/2022)
     08/24/2022   739     SUMMONS Issued by Court Clerk as to Oscar Amos Stilley (alg, Dpty Clk)
                          Modified on 11/4/2022 to reflect the original filing originated from OK/WD
                          case CR−22−00357−001−F (alg, Dpty Clk). (Entered: 11/04/2022) Contains
                          One or More Restricted PDFs
     08/25/2022   734     NOTICE to USDC WD/OK of a Transfer of Jurisdiction of
                          Probation/Supervised Release (Prob−22) as to Oscar Amos Stilley. Your case
                          number is: 22−cr−357−F−1. Docket sheet and documents attached. The
                          finance office will transmit the bond. If you require a financial ledger and/or
                          certified copies of any documents, please send a request to
                          CM−ECFIntake_oknd@oknd.uscourts.gov. If you wish to designate a
                          different email address for future transfers, send your request to
                          InterDistrictTransfer_TXND@txnd.uscourts.gov. as to Oscar Amos Stilley
                          (sc, Dpty Clk) (Entered: 08/25/2022)
     09/11/2022   735     MOTION to Clarify and disclose authority for Judge Friot to preside by Oscar
                          Amos Stilley (Stilley, Oscar) (Entered: 09/11/2022)
     09/20/2022   736     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s):
                          GRANTED IN PART and DENIED IN PART (as fully set out in this order)
                          (Re: 735 MOTION to Clarify and disclose authority for Judge Friot to preside
                          ) as to Oscar Amos Stilley (LLG, Chambers) (Entered: 09/20/2022)
     11/03/2022   737     ORDER by Judge Stephen P Friot Jurisdiction over dft is accepted and
                          assumed by this court from and after the date of entry of this order. This order
                          shall have the same effect as a Probation form 22 Transfer of Jurisdiction. as
                          to Oscar Amos Stilley (LLG, Chambers) (Entered: 11/03/2022)
     11/04/2022   740     MINUTE ORDER by Judge Stephen P Friot setting a revocation and
                          sentencing hearing for 11/21/2022 at 10:30 a.m., setting/resetting
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                    Page 38 of
                                        46


                          deadline(s)/hearing(s): ( Supervised Release Revocation Hearing set for
                          11/21/2022 at 10:30 AM before Judge Stephen P Friot, Sentencing set for
                          11/21/2022 at 10:30 AM before Judge Stephen P Friot) as to Oscar Amos
                          Stilley (This entry is the Official Order of the Court. No document is
                          attached.) (alg, Dpty Clk) (Entered: 11/04/2022)
     11/16/2022   741     MOTION for initial appearance in revocation proceedings by Oscar Amos
                          Stilley (Stilley, Oscar) (Entered: 11/16/2022)
     11/16/2022   742     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): denying
                          (Re: 741 MOTION for initial appearance in revocation proceedings ) as to
                          Oscar Amos Stilley (LLG, Chambers) (Entered: 11/16/2022)
     11/17/2022   743     MINUTE ORDER by Judge Stephen P Friot the 11/21/22 Revocation and
                          Sentencing hearing will be held in Courtroom 3, Fourth Floor (Re: 740
                          Order,, Setting/Resetting Deadline(s)/Hearing(s), 738 Sealed Order on Release
                          (re: Revocation), ) as to Oscar Amos Stilley (This entry is the Official Order
                          of the Court. No document is attached.) (crp, Dpty Clk) (Entered: 11/17/2022)
     11/20/2022   744     MOTION for Appointment of Counsel Robert Burton IV, as standby counsel
                          only, with included brief by Oscar Amos Stilley (Stilley, Oscar) (Entered:
                          11/20/2022)
     11/20/2022   745     MOTION to Disqualify Judge Stephen P. Friot for lack of statutory
                          authorization, and for a legally qualified judge to be assigned by Oscar Amos
                          Stilley (With attachments) (Stilley, Oscar) (Entered: 11/20/2022)
     11/20/2022   746     MOTION to Quash summons and strike other documents from OKWD, and
                          dismiss for lack of jurisdiction, with included supporting brief by Oscar Amos
                          Stilley (Stilley, Oscar) (Entered: 11/20/2022)
     11/20/2022   747     MOTION early PSR with included supporting brief by Oscar Amos Stilley
                          (Stilley, Oscar) (Entered: 11/20/2022)
     11/20/2022   748     MOTION for Discovery with included supporting brief by Oscar Amos Stilley
                          (Stilley, Oscar) (Entered: 11/20/2022)
     11/20/2022   749     MOTION for a true and correct record with included supporting brief by Oscar
                          Amos Stilley (Stilley, Oscar) (Entered: 11/20/2022)
     11/20/2022   750     MOTION to Clarify and modify conditions of supervised release, with
                          included supporting brief by Oscar Amos Stilley (Stilley, Oscar) (Entered:
                          11/20/2022)
     11/21/2022   751     MINUTES of Proceedings − held before Judge Stephen P Friot: Revocation
                          Hearing held on 11/21/2022 , Supervised Release Revocation Final Hearing
                          held on 11/21/2022 , Sentencing held on 11/21/2022 Court finds SR Violations
                          #1 and #3 have been proven by a preponderance of the evidence. SR
                          Violations #2 and #4 are un−adjudicated, ruling on motion(s)/document(s):
                          #745 denied, #746 denied, #747 denied, #748 denied, #749 denied,
                          setting/resetting deadline(s)/hearing(s): Within 15 days, Defendant is to file a
                          supplement to his Motion for Appointment of Counsel (Dkt. #744). Defendant
                          has 21 days to supplement his pending Motion to Clarify and Modify
                          Conditions of Supervised Release. The supplement shall include exact
                          proposed modified conditions. Plaintiff's response is due 21 days thereafter (
                          Miscellaneous Deadline set for 12/6/2022, Responses due by 1/2/2023),
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                      Page 39 of
                                        46


                          ordering defendant be detained as to Oscar Amos Stilley (Re: 747 MOTION
                          early PSR with included supporting brief, 746 MOTION to Quash summons
                          and strike other documents from OKWD, and dismiss for lack of jurisdiction,
                          with included supporting brief, 745 MOTION to Disqualify Judge Stephen P.
                          Friot for lack of statutory authorization, and for a legally qualified judge to be
                          assigned, 748 MOTION for Discovery with included supporting brief, 749
                          MOTION for a true and correct record with included supporting brief, 744
                          MOTION for Appointment of Counsel Robert Burton IV, as standby counsel
                          only, with included brief, 738 Sealed Order on Release (re: Revocation), 338
                          Judgment and Commitment, Entering Judgment, 750 MOTION to Clarify and
                          modify conditions of supervised release, with included supporting brief )
                          (Court Reporter: Greg Bloxom) (With attachments) (crp, Dpty Clk) (Entered:
                          11/22/2022) Contains One or More Restricted PDFs
     11/23/2022   752     JUDGMENT AND COMMITMENT by Judge Stephen P Friot , entering
                          judgment (re: revocation proceedings) as to Oscar Amos Stilley (LLG,
                          Chambers) (Entered: 11/23/2022)
     12/08/2022   755     NOTICE of Change of Address as to Oscar Amos Stilley (ll, Dpty Clk)
                          (Entered: 12/08/2022)
     12/08/2022   756     NOTICE OF APPEAL to Circuit Court (Re: 752 Judgment and Commitment,
                          Entering Judgment (re: revocation proceedings) ) as to Oscar Amos Stilley (ll,
                          Dpty Clk) (Main Document 756 replaced on 12/8/2022 to show "forms"
                          notation) (ll, Dpty Clk). (Entered: 12/08/2022)
     12/08/2022   757     PRELIMINARY RECORD Sent to Circuit Court (Re: 756 Notice of Appeal to
                          Circuit Court, ) as to Oscar Amos Stilley (With attachments) (ll, Dpty Clk)
                          (Entered: 12/08/2022)
     12/08/2022   758     APPEAL NUMBER INFORMATION from Circuit Court assigning Case
                          Number 22−5113 (#756) (Re: 756 Notice of Appeal to Circuit Court, ) as to
                          Oscar Amos Stilley (blc, Dpty Clk) (Entered: 12/08/2022)
     12/12/2022   759     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): denied
                          (Re: 744 MOTION for Appointment of Counsel Robert Burton IV, as standby
                          counsel only, with included brief ) as to Oscar Amos Stilley (LLG, Chambers)
                          (Entered: 12/12/2022)
     12/13/2022   760     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): denied
                          (Re: 750 MOTION to Clarify and modify conditions of supervised release,
                          with included supporting brief ) as to Oscar Amos Stilley (LLG, Chambers)
                          (Entered: 12/13/2022)
     12/15/2022   761     MOTION to Extend Time To Plead Further Regarding Counsel by Oscar
                          Amos Stilley (sc, Dpty Clk) (Entered: 12/15/2022)
     12/16/2022   762     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s):
                          STRICKEN as moot (Re: 761 MOTION to Extend Time To Plead Further
                          Regarding Counsel ) as to Oscar Amos Stilley (LLG, Chambers) (Entered:
                          12/16/2022)
     12/19/2022   763     MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) (Re: 762 Order,
                          Ruling on Motion(s)/Document(s) ) by Oscar Amos Stilley (blc, Dpty Clk)
                          (Entered: 12/19/2022)
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                        Page 40 of
                                        46


     12/19/2022   764     Letter from Defendant re copies as to Oscar Amos Stilley (blc, Dpty Clk)
                          (Entered: 12/19/2022)
     12/20/2022   765     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): denied
                          (Re: 763 MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) ) as to
                          Oscar Amos Stilley (LLG, Chambers) (Entered: 12/20/2022)
     01/10/2023   766     TRANSCRIPT ORDER FORM (Transcripts ordered from Greg Bloxom
                          (918.699.4878)) (Re: 756 Notice of Appeal to Circuit Court, ) as to Oscar
                          Amos Stilley (tgb, Crt Rptr) (Entered: 01/10/2023)
     01/11/2023   767     APPEAL FEES Paid in Full (Re: 756 Notice of Appeal to Circuit Court, ) by
                          Oscar Amos Stilley (sc, Dpty Clk) (Entered: 01/11/2023)
     02/06/2023   768     TRANSCRIPT of Proceedings (Unredacted) of Revocation and Sentencing
                          Hearing held on 11−21−2022 before Judge Stephen P Friot (Court Reporter:
                          Greg Bloxom (918.699.4878) (Pages: 1 − 123). NOTICE RE REDACTION
                          OF TRANSCRIPTS: A party must file a Transcript Redaction Request within
                          21 calendar days. If a party fails to request redaction, this unredacted transcript
                          may be made electronically available to the public without redaction after 90
                          calendar days. Any party needing a copy of the transcript to review for
                          redaction purposes may view the transcript at the court public terminal at no
                          charge or may purchase a copy from the court reporter. (Re: 756 Notice of
                          Appeal to Circuit Court, 751 Minutes of Revocation Hearing,,,,,,,, Minutes of
                          Supervised Release Revocation Final Hearing,,,,,,,, Minutes of
                          Sentencing,,,,,,,, Ruling on Motion(s)/Document(s),,,,,,,, Setting/Resetting
                          Deadline(s)/Hearing(s),,,,,,,, Ordering Defendant be Detained,,,,,,,,,,,,,,, ) as to
                          Oscar Amos Stilley (tgb, Crt Rptr) Modified on 5/8/2023 to remove transcript
                          access restriction (srt, Dpty Clk). (Entered: 02/06/2023)
     02/06/2023   769     LETTER re: Transcript(s) Filed, by Court Reporter Greg Bloxom
                          (918.699.4878) (Re: 756 Notice of Appeal to Circuit Court, ) as to Oscar
                          Amos Stilley (tgb, Crt Rptr) (Entered: 02/06/2023)
     02/13/2023   770     ORDER from Circuit Court (Re: 756 Notice of Appeal to Circuit Court, ) as to
                          Oscar Amos Stilley (blc, Dpty Clk) (Entered: 02/13/2023)
     03/03/2023   771     NOTICE of Change of Address as to Oscar Amos Stilley (Stilley, Oscar)
                          (Entered: 03/03/2023)
     03/03/2023   772     MOTION Motion For Determination of the Validity of his Claims of 5th
                          Amendment Privilege, etc., and to Compel the Government To Maintain The
                          Status Quo Pending a Decision by Oscar Amos Stilley (With attachments)
                          (Stilley, Oscar) Modified on 4/17/2023 − STRICKEN per 778 (lmt, Dpty
                          Clk). (Entered: 03/03/2023)
     03/13/2023   773     MAIL to Oscar Amos Stilley Returned − remailed on 3/14/2023 to 7103 Race
                          Track Loop, Forth Smith, AR 72916−9241, new address obtained from USPO.
                          (Re: 760 Order, Ruling on Motion(s)/Document(s) ) as to Oscar Amos Stilley
                          (dla, Dpty Clk) (Entered: 03/14/2023)
     03/16/2023   774     Second MOTION to Modify Conditions of Probation/Supervised Release
                          Striking all Special Conditions, With Included Brief by Oscar Amos Stilley
                          (Stilley, Oscar) (Entered: 03/16/2023)
     03/17/2023   775
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                    Page 41 of
                                        46


                          ORDER by Judge Stephen P Friot (as fully set out in this order), ruling on
                          motion(s)/document(s): directing response by 4/14/2023 (Re: 774 Second
                          MOTION to Modify Conditions of Probation/Supervised Release Striking all
                          Special Conditions, With Included Brief ) as to Oscar Amos Stilley (LLG,
                          Chambers) (Entered: 03/17/2023)
     04/03/2023   776     RESPONSE in Opposition to Motion to Strike the Special Conditions of
                          Supervised Release (Re: 774 Second MOTION to Modify Conditions of
                          Probation/Supervised Release Striking all Special Conditions, With Included
                          Brief ) by USA as to Oscar Amos Stilley (With attachments) (Gallant, Jeffrey)
                          (Entered: 04/03/2023)
     04/10/2023   777     MOTION For Order Stating What Authorities Stilley's Motion Violated, With
                          Opportunity to Amend, Alternatively for Extension of Time to Reply (Re: 774
                          Second MOTION to Modify Conditions of Probation/Supervised Release
                          Striking all Special Conditions, With Included Brief ) by Oscar Amos Stilley
                          (With attachments) (Stilley, Oscar) (Entered: 04/10/2023)
     04/13/2023   778     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #774
                          denied; #777 denied; #772 stricken; dft's special conditions modified;
                          violations 2 and 4 of Amended Petition for Warrant or Summons for Offender
                          Under Supervision dismissed, terminating document(s) (Re: 774 Second
                          MOTION to Modify Conditions of Probation/Supervised Release Striking all
                          Special Conditions, With Included Brief, 777 MOTION For Order Stating
                          What Authorities Stilley's Motion Violated, With Opportunity to Amend,
                          Alternatively for Extension of Time to Reply , 772 MOTION Motion For
                          Determination of the Validity of his Claims of 5th Amendment Privilege, etc.,
                          and to Compel the Government To Maintain The Status Quo Pending a
                          Decision ) (Documents Terminated: 772 MOTION Motion For Determination
                          of the Validity of his Claims of 5th Amendment Privilege, etc., and to Compel
                          the Government To Maintain The Status Quo Pending a Decision , 774 Second
                          MOTION to Modify Conditions of Probation/Supervised Release Striking all
                          Special Conditions, With Included Brief, 777 MOTION For Order Stating
                          What Authorities Stilley's Motion Violated, With Opportunity to Amend,
                          Alternatively for Extension of Time to Reply ) as to Oscar Amos Stilley (LLG,
                          Chambers) (Entered: 04/13/2023)
     04/13/2023   779     ORDER by Judge Stephen P Friot Modifying Special Conditions of
                          Supervision, ruling re: modification of conditions of probation/supervised
                          release as to Oscar Amos Stilley (LLG, Chambers) (Entered: 04/13/2023)
     05/25/2023   780     MOTION to compel plaintiff to accept criminal payments via pay.gov by
                          Oscar Amos Stilley (With attachments) (Stilley, Oscar) (Entered: 05/25/2023)
     05/26/2023   781     MINUTE ORDER by Judge Stephen P Friot , referring motion(s) to
                          Magistrate Judge Jayne (Re: 780 MOTION to compel plaintiff to accept
                          criminal payments via pay.gov ) as to Oscar Amos Stilley (This entry is the
                          Official Order of the Court. No document is attached.) (alg, Dpty Clk)
                          (Entered: 05/26/2023)
     05/26/2023   782     MINUTE ORDER by Judge Stephen P Friot , terminating motion referral(s)
                          (Re: 780 MOTION to compel plaintiff to accept criminal payments via
                          pay.gov ) as to Oscar Amos Stilley (This entry is the Official Order of the
                          Court. No document is attached.) (alg, Dpty Clk) (Entered: 05/26/2023)
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                      Page 42 of
                                        46


     05/26/2023   783     MINUTE ORDER by Judge Stephen P Friot . The court has preliminarily
                          reviewed the motion. The govt's ddl to respond is suspended pending entry of a
                          procedural order by this court., striking/terminating deadline(s)/hearing(s)
                          (Re: 780 MOTION to compel plaintiff to accept criminal payments via
                          pay.gov ) as to Oscar Amos Stilley (This entry is the Official Order of the
                          Court. No document is attached.) (LLG, Chambers) (Entered: 05/26/2023)
     06/07/2023   784     ORDER by Judge Stephen P Friot . The interested parties (namely, the dft, the
                          office of the clerk of court, govt counsel, the FLU, and the assigned probation
                          officer) are DIRECTED to collaborate with a view to putting in place, if
                          reasonably possible, arrangements for the payment of dft's restitution
                          installments which will be workable for all concerned and will avoid, to the
                          extent possible, unnecessary transaction costs. The govt is DIRECTED to file,
                          not later than 28 days from the date of this order, a report as to the results of
                          that collaboration. (Re: 780 MOTION to compel plaintiff to accept criminal
                          payments via pay.gov ) as to Oscar Amos Stilley (LLG, Chambers) (Entered:
                          06/07/2023)
     06/29/2023   785     SEALED DOCUMENT (Gallant, Jeffrey) (Entered: 06/29/2023) Contains
                          One or More Restricted PDFs
     07/14/2023   786     ORDER by Judge Stephen P Friot . The court ORDERS the method of payment
                          suggested in 785 United States' Report, ruling on motion(s)/document(s):
                          striking as moot (Re: 780 MOTION to compel plaintiff to accept criminal
                          payments via pay.gov ) as to Oscar Amos Stilley (LLG, Chambers) (Entered:
                          07/14/2023)
     10/16/2023   787     DECISION from Circuit Court affirming the Decision of the District Court
                          (awaiting mandate) (Re: 756 Notice of Appeal to Circuit Court, ) as to Oscar
                          Amos Stilley (blc, Dpty Clk) (Entered: 10/16/2023)
     12/04/2023   788     ORDER from Circuit Court denying appellant's petition for rehearing and
                          petition for rehearing en banc filed by Oscar A. Stilley (Re: 756 Notice of
                          Appeal to Circuit Court, ) as to Oscar Amos Stilley (dla, Dpty Clk) (Entered:
                          12/04/2023)
     12/12/2023   789     MANDATE from Circuit Court (Re: 756 Notice of Appeal to Circuit Court,
                          787 Decision from Circuit Court ) as to Oscar Amos Stilley (lmt, Dpty Clk)
                          (Entered: 12/12/2023)
     03/07/2024   790     LETTER from Circuit Court stating that the Petition for Writ of Certiorari has
                          been filed (U.S. Supreme Court Case Number: 23−966) (Re: 756 Notice of
                          Appeal to Circuit Court, ) as to Oscar Amos Stilley (atn, Dpty Clk) (Entered:
                          03/07/2024)
     04/29/2024   791     LETTER from Circuit Court stating that the Petition for Writ of Certiorari has
                          been denied (Re: 756 Notice of Appeal to Circuit Court, ) as to Oscar Amos
                          Stilley (drw, Dpty Clk) (Entered: 04/29/2024)
     10/15/2024   794     MOTION to Withdraw Attorney(s) Jeffrey A. Gallant by USA as to Oscar
                          Amos Stilley (With attachments) (O'Reilly, Charles) (Entered: 10/15/2024)
     10/15/2024   795     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #794
                          granted, terminating attorney Jeffrey Andrew Gallant (Re: 794 MOTION to
                          Withdraw Attorney(s) Jeffrey A. Gallant ) as to Oscar Amos Stilley (LLG,
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                     Page 43 of
                                        46


                          Chambers) (Entered: 10/15/2024)
     10/16/2024   796     SUMMONS Returned Executed as to Oscar Amos Stilley (crp, Dpty Clk)
                          (Entered: 10/16/2024)
     10/16/2024   797     MINUTE ORDER by Judge Stephen P Friot , setting/resetting
                          deadline(s)/hearing(s): Courtroom No. 4, Fouth Floor ( Supervised Release
                          Revocation Hearing set for 11/13/2024 at 10:00 AM before Judge Stephen P
                          Friot) as to Oscar Amos Stilley (This entry is the Official Order of the Court.
                          No document is attached.) (LLG, Chambers) (Entered: 10/16/2024)
     10/23/2024   798     ATTORNEY APPEARANCE by Stephanie Noel Ihler on behalf of USA
                          [Note: Attorney Stephanie Noel Ihler added to party USA(pty:pla).] (Ihler,
                          Stephanie) (Entered: 10/23/2024)
     10/23/2024   799     MOTION to Withdraw Attorney(s) Stephanie N. Ihler by USA as to Oscar
                          Amos Stilley (Ihler, Stephanie) (Entered: 10/23/2024)
     10/23/2024   800     RESPONSE in Opposition to Motion (Re: 799 MOTION to Withdraw
                          Attorney(s) Stephanie N. Ihler ) by Oscar Amos Stilley (Stilley, Oscar)
                          (Entered: 10/23/2024)
     10/25/2024   801     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #799
                          granted, terminating attorney Stephanie Noel Ihler (Re: 799 MOTION to
                          Withdraw Attorney(s) Stephanie N. Ihler ) as to Oscar Amos Stilley (LLG,
                          Chambers) (Entered: 10/25/2024)
     11/04/2024   803     MOTION for Hearing For Initial Appearance (Re: 797 Order,,
                          Setting/Resetting Deadline(s)/Hearing(s), ) by Oscar Amos Stilley (Stilley,
                          Oscar) (Entered: 11/04/2024)
     11/04/2024   804     MOTION for Appointment of Standby Counsel by Oscar Amos Stilley
                          (Stilley, Oscar) (Entered: 11/04/2024)
     11/04/2024   805     MOTION to Vacate/Set Aside Judgment, Docket #752 (Re: 752 Judgment and
                          Commitment, Entering Judgment (re: revocation proceedings) ) by Oscar
                          Amos Stilley (Stilley, Oscar) (Entered: 11/04/2024)
     11/05/2024   806     MINUTE ORDER by Judge Stephen P Friot : The parties are hereby advised
                          that the 11/13/24 revocation hearing will be held at the Boulder Courthouse,
                          224 S Boulder, 2nd Floor Courtroom (Re: 797 Order,, Setting/Resetting
                          Deadline(s)/Hearing(s), ) as to Oscar Amos Stilley (This entry is the Official
                          Order of the Court. No document is attached.) (pll, Dpty Clk) (Entered:
                          11/05/2024)
     11/05/2024   807     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): denied
                          (Re: 803 MOTION for Hearing For Initial Appearance ) as to Oscar Amos
                          Stilley (LLG, Chambers) (Entered: 11/05/2024)
     11/05/2024   808     MOTION Motion for True and Correct Record by Oscar Amos Stilley (Stilley,
                          Oscar) (Entered: 11/05/2024)
     11/05/2024   809     MOTION to Vacate/Set Aside Judgment Docket 338 (Re: 338 Judgment and
                          Commitment, Entering Judgment ) by Oscar Amos Stilley (Stilley, Oscar)
                          (Entered: 11/05/2024)
     11/05/2024   810
Case 4:09-cr-00043-SPF   Document 818-1 Filed in USDC ND/OK on 11/13/24                    Page 44 of
                                        46


                          MOTION to Dismiss Indictment/Information/Complaint Docket 792 Sealed
                          Petition/Criminal Complaint (Re: 2 Indictment ) by Oscar Amos Stilley
                          (Stilley, Oscar) (Entered: 11/05/2024)
     11/05/2024   811     RESPONSE to Docket 792 Petition/Criminal Complaint by Oscar Amos
                          Stilley (With attachments) (Stilley, Oscar) (Entered: 11/05/2024)
     11/07/2024   812     ORDER by Judge Stephen P Friot . The court will permit Charles Robert
                          Burton, IV to sit at the counsel table with the defendant during the upcoming
                          revocation hearing, if Mr. Burton chooses to do so. The court is not appointing
                          Mr. Burton to act as counsel, on a standby basis or otherwise. If Mr. Burton
                          chooses to sit with the defendant at the counsel table, the defendant will be
                          permitted to confer with him during the revocation hearing. If Mr. Burton
                          chooses to sit at the table with the defendant during the revocation hearing,
                          that will occur only as Mr. Burton's voluntary choice. Mr. Burton will not be
                          compensated by the court or with public funds. as to Oscar Amos Stilley
                          (LLG, Chambers) (Entered: 11/07/2024)
     11/07/2024   813     MINUTE ORDER by Judge Stephen P Friot : Due to the Court's schedule,
                          setting/resetting deadline(s)/hearing(s): time change only, to be held at
                          Boulder Courthouse, 224 S Boulder, 2nd Floor Courtroom ( Supervised
                          Release Revocation Hearing set for 11/13/2024 at 09:00 AM before Judge
                          Stephen P Friot) as to Oscar Amos Stilley (This entry is the Official Order of
                          the Court. No document is attached.) (pll, Dpty Clk) (Entered: 11/07/2024)
     11/10/2024   814     BRIEF re Supervised Release Revocation Hearing (Re: 796 Summons
                          Returned Executed, 811 Response, 806 Order,,, 813 Order,, Setting/Resetting
                          Deadline(s)/Hearing(s), 797 Order,, Setting/Resetting Deadline(s)/Hearing(s),
                          ) by USA as to Oscar Amos Stilley (O'Reilly, Charles) (Entered: 11/10/2024)
     11/12/2024   815     MOTION to Disqualify Judge Stephen P. Friot For Bias and Interest and the
                          Appearance of Same by Oscar Amos Stilley (Stilley, Oscar) (Entered:
                          11/12/2024)
     11/13/2024   816     MINUTES of Proceedings − held before Judge Stephen P Friot: Supervised
                          Release Revocation Final Hearing held on 11/13/2024 , Sentencing held on
                          11/13/2024 , ruling on motion(s)/document(s): #804, 805, 808−810, 815
                          denied, striking/terminating deadline(s)/hearing(s) as to Oscar Amos Stilley
                          (Re: 808 MOTION Motion for True and Correct Record , 810 MOTION to
                          Dismiss Indictment/Information/Complaint Docket 792 Sealed
                          Petition/Criminal Complaint, 805 MOTION to Vacate/Set Aside Judgment,
                          Docket #752, 804 MOTION for Appointment of Standby Counsel, 815
                          MOTION to Disqualify Judge Stephen P. Friot For Bias and Interest and the
                          Appearance of Same, 809 MOTION to Vacate/Set Aside Judgment Docket
                          338 ) (Court Reporter: J Golemboski, L Griffin) (pll, Dpty Clk) (Entered:
                          11/13/2024)
     11/13/2024   817     NOTICE OF APPEAL to Circuit Court (Re: 816 Minutes of Supervised
                          Release Revocation Final Hearing,,,, Minutes of Sentencing,,,, Ruling on
                          Motion(s)/Document(s),,,, Striking/Terminating Deadline(s)/Hearing(s),,, ) as
                          to Oscar Amos Stilley (cjb, Dpty Clk) (Entered: 11/14/2024)
Case 4:09-cr-00043-SPF
          Case 4:09-cr-00043-SPF
                         DocumentDocument
                                 818-1 Filed817
                                             in USDC
                                                 Filed ND/OK
                                                       11/13/24on Page
                                                                  11/13/24
                                                                       1 of 1 Page 45 of
                                       46
       Case 4:09-cr-00043-SPF
                 Case 4:09-cr-00043-SPF
                                DocumentDocument
                                        818-1 Filed816
                                                    in USDC
                                                        Filed ND/OK
                                                              11/13/24on Page
                                                                         11/13/24
                                                                              1 of 1 Page 46 of
                                              46
                                              UNITED STATES DISTRICT COURT
                                             NORTHERN DISTRICT OF OKLAHOMA

 United States of America,
                                                          Plaintiff,        Case No.:      09-CR-043-SPF-2
 vs.                                                                        Date:          10/13/2024
                                                                            Court Time:    9:05-10:25, 10:35-12:00
                                                                                           12:45-2:30, 2:40-4:25

 Oscar Amos Stilley,                                                        MINUTE SHEET FINAL REVOCATION OF
                                                     Defendant(s).          SR HEARING & SENTENCING

Stephen P Friot, U.S. District Judge               P. Lynn, Deputy Clerk                    J Golemboski, L Griffin, Reporter .
Counsel for Plaintiff:   Charles O'Reilly                 Counsel for Defendant:         Oscar Stilley, pro se,
                                                                                         Trevor Reynolds, stand-by
Probation Officer:       Kory McClintock, Ryan Forsyth
☒ Defendant appears in person with counsel            ☐ Counsel waived                   ☒ Evidentiary
☒ 18:3553 Findings re: Prob/SR Revocation Sentencing Options made;
☒ Revocation Sentence re: Guideline; ☒ Findings made; ☐ Departure: ☐ Variance:                        ☐ Upward             ☐ Downward
☒ Defendant and counsel asked if they care to say anything before sentence is pronounced, and no cause to the contrary being shown
☒ Motion Dkt. 815, 805, 804, 808, 809, 810 ☒ Denied
☒ Court makes findings on violations      ☒ Defendant’s term of Prob/SR is revoked
    Violation #1 – acquitted, Violation #2 – violated, Violation #3 – violated, Violation #4 – violated, Violation #5 – violated
    Violation #6 – violated, Violation #7 – violated, Violation #8 – acquitted, Violation #9 - violated
REVOCATION OF PROB/SR SENTENCE:
☒ Bureau of Prison for a term of       24 months                       ☐ Concurrent         ☐ Consecutive      ☐ Not Imposed
☒ NO Supervised Release
☒ Remainder of Restitution:            $ Payable to IRS                ☐ With Interest      ☐ Interest Waived ☐ Not Applicable
*******************************************************************************************************************************************
☒ Defendant advised of right to appeal                    Court recommends to BOP:
                                                          ☒ Designate a facility located in or near:        FCI Yazoo City
☒ Defendant remanded to custody of U.S. Marshal

Additional Minutes:
 Defendant requests court appointed. CJA attorney Trevor Reynolds present and appointed as stand-by counsel.
 Motion to stay sentence is denied. Motion to self surrender is denied.

 Govt Witnesses:
 Patti Rush
 Ryan Forsyth

 Govt Exhibits admitted and returned:
 1 – Dkt #792
 2 – Dkt #802
 3 – Arkansas Special Master Transcript and Documents re: voter registration
